Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 1 of 48




       Exhibit 19
                  Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 2 of 48
From: Mark I. Anderson <Mark.I.Anderson.18@dartmouth.edu>
Sent: Wednesday, October 04, 2017 3:53 PM EDT
To: Anne B. Hudak <Anne.B.Hudak@dartmouth.edu>
CC: Katharine R. Strong <Katharine.R.Strong@dartmouth.edu>
Subject: Re: Suggestion Request
Attachment(s): "Appeal.pdf","Appeal.docx"
Thank you Anne & hello Katharine,

Attached is my letter containing my appeal of the decision from my recent Judicial Affairs hearing. There are both a PDF and Word
document containing the same letter attached, but I would recommend using the copy in word so that you can more easily adjust the size
of the photos inside it when you look at them.

Also, I do not expect such, but please let me know if you happen to hear any information regarding when I might expect to hear the
result by.

Best regards,
Mark Anderson

From: Anne B. Hudak
Sent: Tuesday, October 3, 2017 12:49:53 PM
To: Mark I. Anderson
Cc: Katharine R. Strong
Subject: RE: Suggestion Request

Hi Mark ,

You will want to email the appeal to Judicial Affairs. If easiest, you can submit it directly to Katharine Strong. I have cc’d her on this
email to make it easy for you.

Best,

Anne

From: Mark I. Anderson
Sent: Tuesday, October 03, 2017 2:11 PM
To: Anne B. Hudak <Anne.B.Hudak@dartmouth.edu>
Subject: Re: Suggestion Request

Hi Anne,

Ok, thank you. How should I submit the letter tomorrow?

Best,
Mark




                                                                                                                        DARTMOUTH001299
              Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 3 of 48



    To whomever this makes its way to,



       I’m staying on a couch in my friend’s room at an off-campus house right now, and as soon as I submit this appeal,
    the next step for me will be to determine what excuse I need to make up and tell everyone I know here so explain
    why I mysteriously haven’t been seen for the past few weeks, and why I’m going to be gone for however long I am.
    Since the time I was informed of the committee’s decision, through now, and until the time I learn what will become
    of me, or how long I’ll be gone after this with absolute certainty, I’m just going to be stuck in this room rotting away
    because I’m too scared to go outside, run into someone I know, and then become forced to make-up a story to
    explain my irregular absence from classes and my extracurricular commitments these past few weeks, and that I
    might have to contradict later on when I’ve come to know how much time away from school l’ll have to rationalize
    being gone for in whatever lie I invent and tell everyone to explain my time away if I’m every allowed back at this
    place. I don’t think the school will let me meet with anyone to try and figure out plans for how I might graduate on
    time or minimize my student debt burden if I am every allowed back at this school, but that’s honestly the first things
    I’ll have to start doing after I submit this in a few minutes. My dean, Anne Hudak, warned me that it can take up to a
    few weeks before a decision is reached on an appeal because the Deans of the College often have very busy,
    unpredictable schedules that usually prevent them from reviewing appeals until a short while after they’ve been
    received. I totally understand this, and urge you to wait until you have the time and energy to read through this and
    remember, and understand it. In case you might be in a position where you have the freedom to elect when you’ll
    look through this once you’ve received it, that you might be able to provide me an incredible amount of utility
    electing to look through this at one of the earlier times it’d be possible and convenient for you to do so.

       To preface this, I want to apologize for the variety of careless grammatical errors, incomplete sections, and
    incoherent statements that I'm sure are scattered throughout this letter. Despite my best efforts, I was not able to
    find a lawyer whose minimum retainer my parents could afford to look at this or help me in any way, and although
    my school advisor (who helped me with the Judicial Affairs process and met with me several times the week after I
    was expelled to help me understand how to write this appeal) said she would skim through it for me, she wouldn't
    mark-up mistakes she saw while going through. I do not have anyone else in my life that I could bring this to right
    now and seek help with that cares enough about me that they might want to, but are also capable of providing
    meaningful help and assistance, and have the time available in their own busy lives right now to help me with such
    a severe and difficult-to-handle situation as this one. Now that the deadline I must submit this letter by has nearly
    arrived, I've only been able to finish writing everything I've said here by the day of the deadline (I'm writing this
    having just finished now), so I have not had an opportunity to review any of it aside from the very first section, so
    you'll be the first person to have read all of it since I typed it, even taking myself into account. If there is anything
    you come across I might be able to clarify, feel free to call me or reach out to set up a time I could come meet you
    and answer any questions you might have in person.

                                                                ***

     Please read this, I know it’s long, but this is everything you need to understand this case. You are the
     only person in the world that can save me now, and this is the only tool I have to communicate exactly
     what is happening to me; the only thing I can do is express it to the best of my capabilities here and pray
     you read it and try to understand. It might not be totally clear why I go into such detail at some points of
     this letter until I bring up whatever I was talking about again later on, but I promise you it’s all necessary,
     and that every memory I can access about the events I was expelled for are described here. Overall, this
     letter contains:

Ø    An explanation of the procedural error that occurred in this trial.
Ø    The information I would have provided to the committee if all the allegations I’d been put on trial for were
     adequately described to me.
Ø    The information I did provide during the COS hearing.
Ø    Line-by-line response to the judicial affairs committee’s finding report
Ø    Copy of my opening statement from the hearing

    I don’t know what punishment I deserve here – maybe this is it. What I do know with incredible certainty is that the
    school didn’t put in the care or effort to conduct this Judicial Affairs trial in such a way that they could be informed
    enough to know either.




                                                                                                                       DARTMOUTH001300
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 4 of 48




Ø THE PROCEDURAL ERROR THAT OCCURRED IN
  THIS CASE
 The Student Handbook reads:

                 “Students are entitled to reasonable written notice of the substance of the
                 allegation(s) against them. Students are also entitled to a reasonable period of
                 time in which to prepare for a hearing. A reasonable period of time is, at a
                 minimum, as five calendar days from the date of delivery of the allegation letter.
                 Hearings will be scheduled as soon as possible after an incident. A student who
                 needs additional time to prepare for a hearing may request, in writing, an
                 extension of time from the Chair. A student's D-plan or the availability of an
                 advisor are not normally grounds for postponing a hearing.”

 Since the phrase “reasonable written notice” isn’t defined or further explained in the handbook, I am providing my
 own interpretation that I think any reasonable person would agree makes a great deal of sense here.

 “Reasonable notice” entails: a written description of the allegations against the student that would make the
 substance of these allegations abundantly clear to anyone making a reasonable, intelligently derived
 interpretation of the text provided to them.

 I was not given such reasonable notice of the substance of my allegations from the school, because my advisors
 and I were able to come to the conclusion (based on our reasonable interpretation of information the school had
 provided describing the allegations against me) that the COS committee put me on trial for a specific set of
 actions I’d committed during the Spring term, which did not encompass the things I’d done during the Winter term
 while I was home – these are the transgressions the committee focused on in the hearing, and which I was
 expelled for committing.

  Consequently, I didn’t get an opportunity to “admit” or “deny” the allegations I was found guilty of, & it wasn’t
 possible for me to know exactly what information it was important for me to provide to the committee. If this error
 had not occurred and the substance of the allegations against me were communicated with the care and attention
 to detail that students hope and assume this school will put into things like these, I would have admitted to the
 allegation of having committed a violation of Standard of Conduct II during the Winter term. Here is a copy of the
 allegations I was given to respond to:




 The events that I was expelled for did not occur within the timeframe described in the allegations that the
 committee had raised against me – the allegations clearly stated that I was being accused of committing a




                                                                                                               DARTMOUTH001301
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 5 of 48



violation of conduct during the spring term. In other words, I was not given an opportunity to “admit” or “deny” the
allegations I was found guilty of at the Judicial Affairs hearing by responding to all of the allegations which were
presented to me. Here is the other information I was provided describing the allegations against me:




I don’t think I can really articulate how seriously this may have affected the outcome of my Judicial Affairs hearing
without just asking you to read everything I’ve written here. I’m not saying I did nothing wrong, I’m just begging
you to understand that because of how this all went down, I was not provided all of the information students are
guaranteed the right to in the student handbook, and which you couldn’t possibly argue a student had been given
a fair opportunity to prepare for, or represent themselves in a trial in which they hadn’t been provided an
unambiguous written description of beforehand.

I was specifically told to try and share as few details as possible about our relationship as were needed for the
committee to understand the specific allegations against me. I took this as further prompting to spare the
committee all the details necessary to understand all the events pertaining to what they eventually found me guilty
for.

When I had such a hard time answering questions the panel asked about events I’d been told I wasn’t being put
on trial for, and I couldn’t recall the things they asked me about for the entire questioning session, because to this
day, the only way I’ve been able to ease the pain from the memories of what happened in the end is to try and
forget them, I guess they interpreted my confusion and inability to coherently respond as me trying to make up
some story that’d rationalize or excuse what I’d done. Please don’t let my life end for this. You’re the only person
in the entire world that can save me from a fate so much more painful than losing your house, or job, or even
randomly being kicked out of college one random day at the beginning of your senior year in college for no reason
at all, which I don’t know any way to really explain to you other than writing you this, and praying that you have
the empathy to read it. I was distracted, trying to understand what their questions were implying, and why they
were asking so few related to what they were accusing me of, which culminated in me pausing to express my
confusion, and ask why they were focusing almost entirely on events unrelated to what I was on trial for
during the middle of my questioning.




WHAT I DID TO PREPARE FOR THE CASE
I’m describing what I did to prepare for my Judicial Affairs hearing to articulate exactly how this procedural error –
me being told, (as Adam told me in the first letter I received about the case) “specifically, it is alleged that on or
about May 4, 2017 you communicated with parties in violation of a restraining order,” and very specifically
that it was “this continued contact in violation of the restraining order [which], if true, would be in violation
of Standards II and VI,” when this description did not actually encompass all of the actions I’d be put on trial for
– made it impossible for me to know what information I should’ve provided to the committee in the opening
statement of my hearing.




                                                                                                              DARTMOUTH001302
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 6 of 48



My family cannot afford a lawyer to help me with any of this, so the only people I’ve had to help me navigate this
incredibly opaque and unforgiving judicial affairs system are my public defendant, George Oslter, and my college
dean Anne Hudak. George’s interpretation of the school’s letter describing the allegations which the COS
committee had raised against me, was that the accusation I’d violated standard of conduct VI would be the
biggest issue for me, since a very strict reading of everything that transpired could cause the school to punish me
for a technical violation of the law, even though the court hadn’t found me guilty, and that I was quite clearly and
provably not doing anything malicious during the period it was alleged that I had been. He told me my main
concern should be that the committee might punish me for having technically violated the conditions of a
restraining order when I sent the REDACT ’s the email which resulted in my arrest, despite that the court
accepted my not-guilty plea. This is whyED I was not immediately available to have the hearing during the spring
term – I still needed to undergo the New Hampshire court hearing where they’d determine my culpability for the
alleged crimes. Several people at the school I went to for help throughout this process told me that George was
very familiar with the school’s Judicial Affairs process from his past experience representing students in them, so I
had great respect for, and readily accepted his opinion on how things would go, and what I should do to prepare
for the COS hearing.

Anne told me to consider things I might do if I was suspended and had to go home, because she said it was
always important to “hope for the best, but prepare for the worst,” which, at the least, affirms that she would’ve
agreed with my lawyer that total separation from the college was not really something that would be considered
here, even if she won’t admit it to me now no matter how much I ask her to.

As a result, I wasn’t even provided an opportunity to admit or deny the allegations I was eventually expelled for, or
know what set of information I needed to provide so they’d understand all the circumstances surrounding my
actions which’d come into question. Once you’ve read this entire thing, it’ll be a lot easier to understand why this
was especially misleading in the case of my Judicial Affairs trial.

I have provided photos of the opening statement I read to the Judicial Affairs committee at the end of this letter.

                                                         ***

Although this information was available to me during the time of the hearing, and is absolutely necessary to make
sense of the events I was expelled for, because of the procedural error that occurred, I was specifically mislead to
believe it was not necessary to understand anything I was being accused of at the hearing, and that I should
make an active effort to omit as much of it and “any other irrelevant information about our relationship that
wouldn’t contribute to the committee’s understanding of the events surrounding the actions I was being accused
of” (the man leading the hearing said something along those lines to me at the very start of the trial, at which point
I decided they’d probably look more kindly upon me if I respected their time by listening to what he’d said, and
decided to skip over a number of segments in the 6-page opening statement I’d written). This judicial affairs
system is so beyond my understanding, and I have no idea what punishment I might really deserve for this;
maybe this is it, and I’m just so fucked up I can’t even see what’s wrong with myself. I just urge you to understand
that institutions like judicial affairs serve obvious, important purposes in places like our school and society, but
even the individuals who create and manage them would profess there aren’t instances where they occasionally
come to invalid conclusions, and inadvertently cause more needless harm to people who don’t fully deserve it
than any other entity in the world might be capable of, or serve as a set of tools that some people will be able to
utilize to defend the very same injustices these institutions are made to quell; a society wouldn’t survive without
means of holding people accountable for causing other people harm, but no one would argue its possible for the
institutions that serve this purpose to do so without dealing some punishments to wrongdoers which are too harsh
or undeserved. Please, please understand that because of the circumstances I’ve described, there is no doubt the
chance that this happened to me is too large for you to not at least make certain it isn’t before you affirm I’m the
psychopath they could only protect society from by taking his life away from him. You know so much better than I
do what punishment I deserve. The only thing in the world I regret more than having been weak enough to have
perpetrate the actions I committed during the Winter term, is not being able to go back and do the trial again, just
having any idea what I was being accused of, or what information I needed to provide. That way, I could at least
know this is wasn’t a mistake, but a necessary measure and precaution that simply has to be made against
people like me to protect others. To write this description of what happen during, and leading up to the events I
was expelled for, I truthfully had to reach deeper into myself and try harder to understand my own mind, emotions,
and what unconsciously motivates my actions and behavior than I ever have in my entire life, so that I’d be able to
express them to you as clearly as possible. I guess there’s never been another time in my life where that was my
only choice, and this was the only thing that could possibly make me go back to dwell on all these memories I’ve




                                                                                                              DARTMOUTH001303
            Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 7 of 48



    tried so hard to forget. Once you’ve read this letter, I honestly think you’ll be able to make better sense of it all
    better than I even can now. I couldn’t tell you what I deserve, but I do think that if you really read all of this, I’ll at
    least be able to know your judgement is correct.

Ø     THE INFORMATION I WOULD HAVE PROVIDED TO THE
      COMMITTEE IF ALL THE ALLEGATIONS I’D BEEN PUT ON
      TRIAL FOR WERE ADEQUATELY DESCRIBED TO ME.
REDA and I met each other during our sophomore year in high school. I guess must’ve been a lot more popular
back
CTED then because we always talked about how we’d thought the other was super cool for a long time before we’d
met. After we first became friends after meeting in pre-calculus class, we both started making as many excuses as
we could to hang out with each other. We started dating a few months later, and after that, spent every last day of
high school together, as well as every break from college/university either of us had. Literally every single one. In
our sophomore year of college, her parents wanted to go on a vacation to Hawaii that I couldn’t afford, and so she
refused to go and came to stay with me in my dorm room and watch me study instead, because like she would
always say to me when we loved each other “nothing was as fun as time spent with her Marky.”

We were best friends, and closer with each other than we’d been with anyone else in the entire world until the very
last day of the relationship. She knew and understood me better than anyone else has in my entire life, and cared
about and related to me in such a special way; until the last day we were together, she’d always say she felt the
same about me.

REDA was my first kiss, relationship, and the closest friend I’ve ever had. I was as close to her parents as I was to
my
 CTEDown for a while, and spent countless times more waking hours at her house than I have at my own since we
started dating in our junior year of high school. We were inseparable, and everyone that knew us would say they’d
never seen two people with such an incredible relationship before. Almost every one of the best memories I have in
life are from time we spent together, and now every one of them fills me with the deepest crushing sadness I’d ever
felt before I was removed from the college and lost everything that matters to me in life, and the ability to do the
things I loved, and that make me who I am.

After we’d dated for two years by the end of senior year in high school, we had to decide what should become of
our relationship as we went to college. We loved each other so dearly, both said we felt our love for one another
could never die away. She begged me to keep going, and I told her I wanted to, but that I couldn’t ignore the
objective reality we’d probably be making a terrible mistake if we did keep going. This was my perspective: 95% of
high schoolers who take their relationships long distance once they go to college end up breaking up before they
graduate, and resenting they didn’t just end it earlier and have stayed friends, and not lose out on the best
opportunity to meet new people they’ll ever get in their entire lives. Students who pursue long-distance relationships
generally know this, but think that their love is special, and consequently, that they’ll be the exception to this
statistic. Even if we felt otherwise, we didn’t really have reason to believe we wouldn’t be making the same mistake.

She saw someone in the first few weeks of freshman year during the fall term while we were open, and called me
the next day crying, saying she couldn’t enjoy being with other people and needed to be with me again. I insisted
we continue seeing other people for the rest of the term to get a better feeling for how we both felt, but she refused
while I continued. By the end of the term though, I started to really agree with her that we would probably never find
other people we were so compatible with, and that we were so good together that we probably were the exception
to that daunting statistic. And so we started dating long distance after the end of fall term.

From this point until when we broke up, our relationship seemed to be as great as it had always been. Our only
priorities we had while deciding where we’d work after graduation, or during internships, or what we’d do during our
vacation times off from school was that we would be with one another. She always liked to make plans for when we
would get married, and insisted I spend most of my vacation time away from home visiting her family on the East
Coast.



    This is so hard to admit to myself that I can barely write it here, but during the Winter of our freshman year (the
    first term where we did long distance) she got me to promise her I’d stop being friends with girls at school,
    because she said that even though she trusted me, she’d feel very insecure knowing I was hanging out with them.




                                                                                                                         DARTMOUTH001304
          Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 8 of 48



  She’d struggled with severe body image related problems since she was in middle school, and while I wasn’t ever
  able to fully understand them, I always did everything I could to help her with them. Throughout the relationship, I
  always thought she was so beautiful, and told her that every day. This helped her a lot in the first few years we
  were together, but eventually, her condition started to become more severe, yet different than it had been before.
  She would send me photos of her abs in the mirror every single day, multiple times a day, and legitimately start to
  feel insecure or hurt if I ever forgot to reply with a message telling her how impressed I was, or how hot she
  looked. Her weight would also fluctuate dramatically between months, never become so thin she seemed
  unhealthy, but losing weight incredibly fast at times, and then subsequently gaining it back over longer periods of
  time and starting to lose confidence in herself each time it happened. This went on for a very long time until I
  eventually told her I thought she might benefit from help, and should go see someone about it. She always agreed
  it was a good idea, and even let me help her set up an appointment for it once or twice, but she never actually
  saw anyone until right after we broke up. I guess maybe in the end, she probably realized I’d just become an
  object she’d come to rely on to cope with those insecurities, and that feeling of security I’d always provide her so
  reliably was the happiness she mistook for love.

  Anyways, I agreed, and stopped bring friends with girls at school – for her, because her happiness mattered so
  much to me, and with how overly committed she was to the relationship until the last day, I was stupid enough to
  believe in that with such confidence I’d agree to what she’d ask. To this day, there isn’t a single girl at Dartmouth I
  could call my friend. She on the other hand, was primarily friends with guys at school. She’d always been like that
  since high school, but I always thought it was because she was just a little bit of a tom boy, and I’m generally a
  very unjealous person and couldn’t imagine asking something as ludicrous of her as distancing herself from her
  new closest friends. Their names were           REDACTED               , and I came to know all but the last of them
  very well while REDA and I were dating, because one of the things she’d constantly remind me was important to
  her was that I become
                   CTED close with the people who were close to her. REDA ’s parents are Dartmouth alumni, and
  they have a skiing cabin just off campus which they’d come up from CTED
                                                                        Boston to visit all the time while they were in
  school. I vividly remember how easily she was able to convince me to agree, but can’t understand how I could put
  myself in a situation that would made me so much more used when it ended.

Ø The Breakup & Events Preceding
  I spent my Thanksgiving break seeing her family all around the East Coast; she’d always pressure me to come
  with her to when she was visiting them, saying it was super important to her that I meet them. If I said I didn’t want
  to go on any particular trip, she’d guilt me into it by saying she couldn’t believe I didn’t want to go and meet her
  family given how important they were to her, and that I was implying I didn’t like them if I was ever reluctant to
  make trips to the same people year after year, despite that she never wanted to come the few times I asked her to
  come and meet mine. When she was studying abroad in Denmark after that, she said she couldn’t bear being
  apart from me for so long. While this always seemed like it’d be an extraordinary experience from when she first
  brought it up, I soon came to realize it would cost far too much for my family to afford, and told her it’d probably be
  better to wait a few years until after we’d graduated and I a job and income, and would be capable of doing so
  without putting financial stress on anyone. We’d always talked about how fun it’d be to study abroad in the same
  place at some point while we were in school. She’d done a ton of work to find the best Dartmouth and RE
  programs that took place at the same location and time. I’d come to believe it was relatively easy to getDA  into study
  abroad programs here based on what I’d read and heard from other students, but ended up getting rejected    CTE from
  my program after she’d already been accepted and confirmed she’d be attending hers. I was already self-loathing
                                                                                                               D
  when I got the news because I was already going through an unprecedented and unmanageable situation in one
  of my classes at the time that was driving me mad, and I hated myself even more after I was rejected from the
  program.

  She kept insisting, until finally we told me she wanted to have a “serious talk” during the summer before she left.
  In the talk, she told me she couldn’t deal with being away from me for 6 months while she was going to be abroad
  in the fall/winter, and basically cried saying she couldn’t do it until I eventually conceded and “pinky swore” to her
  I’d figure out some way to make it happen – I shouldn’t have, but I just felt responsible for the situation for not
  getting into my program, and like I owed it to her to do whatever I could to make the situation better. I know that
  sounds stupid, but throughout our relationship, it was the little secret ritual we used to promise one another we’d
  unconditionally stay true to whatever promise we’d made them. We probably made hundreds of these with each
  other, but in the end I guess the only one that wasn’t kept was the one she made us do the most – that we’d
  always be best friends for our whole lives no matter what. I think they were sort of a testament to how much we
  trusted one another; it could be something as simple as bringing the other person a meal at the library, or asking




                                                                                                                 DARTMOUTH001305
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 9 of 48



them to convince their friends to come to the first meeting of a club you’d just started, but we never went back on
one when we were together. She always told me how much she loved it.

She comes from an incredibly wealthy, well decorated family (she cried to me for months when she “only” got into
 RE , for the reason that every other member of her immediate, and at least 80% of her 35+ large extended
family
 DA went to Ivy League schools), while neither of my parents attended college or have ever really been able to
CTE me for financially since we lost everything in 2008, since when my parents have been living paycheck-to-
provide
paycheck and I’ve done everything in my power to minimize the financial burden I pose to them and help stop the
  D
incredible suffering I’ve watched them experience from not knowing if they’d be able to make our rent or car
payments for months at a time. REDA and I were always so considerate to one another about things like these
though; I feel like she always understood,
                                  CTED and would never asked twice when I asked if we could try a cheaper
restaurant, or pick the cheaper flight as we traveled between Seattle and Boston with each other for school, and I
did all I could to minimize the number of things she had to miss out on for dating someone so much poorer than
her, and buy her gifts the size of the ones she bought me. While we were together in school, I used more of my
spare money on her than I did on myself. Other than my laptop computer, the two most expensive purchases I’ve
made in my entire life were presents I got for her. I still wear most of the clothes she gave me as gifts because
they’re most of the nicest I own, even though I have to think of her every time I look at them as I put them on to
wear or see them in my dresser.

And so going back to the commitment I’d made to see her in Denmark, this was the biggest instance of me going
beyond my means to try and do this for her, and I wasn’t even really sure how I was going to get together the
money for it yet, especially since my parents had been especially tight on money in the months leading up to this.
By total coincidence, I was given a much larger refund check than normal in the fall term – roughly $5,000 dollars,
while checks I’d received in the past ranged from $600-1,500. I assumed this was because my parents’ income
had fallen substantially below what it was the previous year (my dad is a real estate agent, so his income
fluctuates dramatically between years). Thus, I used the money to cover all of my expenses for the next 5 months,
pay for the Denmark trip, and also do something really special for REDA to celebrate her birthday which was
occurring during the trip, as well as our recent 4-year anniversary. CTED
                                                                     And so I went ahead and did just this.

We’d started talking on the phone for at least 20 minutes every day starting in the fall of last term when she went
abroad. REDA s the type of person who needs a lot of emotional support from whoever she’s in a relationship
with compared
         CTEDto most people, and I’m just the opposite, which I only say now with such confidence because
we’d always freely talk about and acknowledge it. This had been something she’d always wanted us to do since
we’d started school, but that I had a really hard time to find the time and energy to do every day with all the other
social, work, and academic obligations I had while at Dartmouth. Before she went abroad, she also got me to
pinky swear I’d make time to talk with her on the phone every day it was possible, and we did from that point on.

When I arrived in Denmark, I noticed a few things had changed about her. Neither of us enjoyed drinking much
before, but now she’d get blacked out a couple times a week, and seemed disappointed when I couldn’t keep up.
A few other things changed that were impossible for me not to notice after having known her for so long, but also
too subtly for me to bring up, like she seemed less excited to show me her friends and hear about what I was
doing, even though she described her feeling about the relationship in the same way she always had – she loved
me more than anyone in the world and could never imagine being with someone else.

When I went back home during the winter, I started to have some pretty severe emotional issues of my own. After
having gotten through to final round interviews at Bridgewater, Goldman Sachs, and Deutche Bank, which were
the companies I wanted to work at most at the time, and a few others I would’ve been incredibly excited to get at
companies like Amazon, HPE, and UBS, but not gotten any of them, or any of the other 200+ internships I applied
for despite having many interviews. I’d been desperately trying to get any possible experience in the financial
services industry since my freshman year, but had almost certainly failed to for the 3rd by this point, while there
were already more kids that’d have three years of internship experience in the industry than firm’s would even
want to hire. I just felt really depressed and like I’d fallen too far off the track necessary to get any of the jobs I’d
dreamed of. I don’t know what makes me this way now that I think about it, but this type of failure has always
haunted me in life more than anything.

We live in a pretty small 4-person apartment with 5 people in it, and don’t have any desks for me to sit and do
work at, so I usually walk a couple miles to Starbucks in the morning and spend a good part of my day there. It’s a
small community, and there’s almost always someone from my high school class working there, so it’s impossible
for me to go there without running into a few friends from the past. I used to love catching up with people like this,




                                                                                                                 DARTMOUTH001306
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 10 of 48



but over the winter, I started to think of the interactions as nothing more than an instance where I’d inevitably have
to explain that I was at home, doing nothing over break. It’s not that I was embarrassed they’d now know about
how I’d failed, just that the interactions would force me to confront my circumstances in my own mind, when my
feeling of powerlessness to change them made it so the only thing I could do to cope with it all was try and
somehow forget it all. No matter what I did – read the news, browse the internet, or participate in any of the career
development or academic programs I’d done to prepare myself for the workforce in the past 3 years. Now all the
market and industry reports I’d begun reading to prepare myself for interviews, and to be a good employee at first,
but had grown genuinely interested and intrigued by over the years as it became part of my daily morning routine,
I’d be overcome with the thought I was just accumulating knowledge that I’d only be able to use if I got a job that
wasn’t attainable for me anymore. When I participated in any of the leisurely activities that used to help me relax
at the end of the day, like watching movies or playing video games, I’d instantly be overcome with hate for myself
for being weak enough to waste any time I could be using to maybe save myself from the situation somehow. And
so I’d just sit there scrunched up on a wooden stool and a makeshift desk I made out of a shelf in my room,
unable to do anything recreational without starting to hate myself moments in being stupid enough to waste
anymore time when I was already so far behind where I needed to be, but unable to do anything productive
without being overcome by the feeling I’d already invested so much of myself and tried my hardest to achieve
something, I needed to come to terms and let it go so that when my unrealistic dream became an impossible one.

This was the first time in the 4½ years or so we’d been dating at this point that I’d had an emotional problem I
needed support from her with. I didn’t need much – just someone who I felt like was still rooting for and believed
in me – I guess because I probably needed someone in the world that actually understood what I was going
through, but who’d told me they loved me unconditionally for so many years, and that I could actually believe had
a reason to care other than that they had to, to help me believe that after having gone through so many trials and
told I didn’t have the right qualities in each one, there might be some place out there that’d come to believe I was
qualified for any of the jobs that I dreamed of.

During break I’d go on walks in the woods behind my house around 8:00 every night and call her according to our
promise. Up until the last week or so days we were together, she was always so excited for these calls where
we’d share what we’d been up to that day like we always had, and where she’d comfort me about the problems I
was going through. In the last week, she told me that she loved comforting me, but that my happiness mattered
so much to her that she was becoming sad whenever we spoke because of how sad she could see I was. I said I
thought it was kind of callous for her to ask me to stop being so sad because it was bumming her out, and how
mad she’d have gotten if I’d ever said something like that to her in a similar situation. She agreed, and what she
said hurt me, but I tried my best to hide all my pain when we spoke after that (we usually FaceTime’d).

The weekend before she broke up with me, REDA went on a trip with her friends REDACTED to Montreal. Her
friendship with RE had been a little bit of anCTEDuncomfortable situation in our relationship for a while by that point.
Ever since the first
                  DA time I’d met him, she’d always remark about how awkward and quiet he became if I was
around. It couldn’t
                  CThelp but notice it too, whenever he’d visibly tense up when I walked in the room, or seem to die
a little inside when they’d very occasionally facetime and she’d put me on the camera for a moment to say “hi.”
                  ED
She became his closest friend at school one point in sophomore year, until at one point she told me she was
really worried RE was in love with her, and I told her it’d always seemed that way to me, though I didn’t want to
say anything about
                 DA it because he hadn’t done anything that’d give me reason to believe he wasn’t just shy around
people he isn’tCTsuper close with, and because I’d have never raised a concern like which would result in her
having to marginalize a close friendship of hers, and as a consequence of what I was stupid enough to believe
                 ED
was male paranoia at the time: a feeling I was proud of being able to virtually ignore at the time, because I
thought it was part of what made me a such a good partner to her, and our relationship such a healthy one. After
she raised the concern though, she said it was pretty fucked up considering she had asked me to preemptively
not pursue friendships with any girls so that she wouldn’t have to feel paranoid that I might end up in a similar
situation to the one she was in, and that she was going to start slowly creating distance from him over the next
term until they were hanging out once a week or so, instead of most days as they had been. I said that sounded
totally fine, and that ultimately, I always trusted her ability to evaluate her friendships with other guys better than
my own, but obviously appreciated her telling me about it. After this, she told me she became less close with
 RE , and seemed to for a while, though I never payed attention to it (she’d just report on it to me without any
prompting).
 DA
 CT spam me with snapchats and texts throughout the day to tell me about whatever she was up to on trips like
She’d
 ED
these, but now, for the first time ever, I didn’t hear anything from her. She didn’t reply to any of my phone calls or




                                                                                                                DARTMOUTH001307
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 11 of 48



texts either. I could see she’d read them, and so I assumed something must’ve gone wrong with her phone or
something that made it so she couldn’t reply.

That next Monday right after she got back from the trip, REDA messaged me “we need to talk,” on Facebook. At
this point, she’d never raised a problem about the relationship
                                                          CTEDthat was serious, or that we didn’t immediately talk
through, and had only ever told me she wanted to be together for the rest of our lives. We had a trip to Canada
we’d planned extensively to go on – she talked for months about how excited she was to go on the first of so
many trips we’d go on to see the world with each other. I remember replying “Lololol ok but just fyi ur making it
sound like you’re gonna break up with me,” and then only while I waited for minutes watching the bubbles on
messenger go back up and down over and over again, letting me know she was typing and deleting her response
over and over as she tried to figure out what to say, did I realize what was actually happening. When we talked at
this point, she told me she wasn’t sure she wanted us to be forever anymore, but wouldn’t tell me why at first. I
couldn’t understand how she suddenly felt that way, and kept telling her I had to know why. Eventually, she told
me that she didn’t find me attractive anymore and secretly hadn’t enjoyed the sex in the past 9 months. She said
it’d almost become like a chore for her in the end, even though I’d always made sure she didn’t feel pressured to
be any more sexually active than she really wanted to, just so she could impress me, or make me happy. This
was the only reason she ever provided me in the end. I can’t remember, and still can’t imagine her saying this to
this day, but she told me it was because she didn’t like my skin anymore, or find me attractive in general anymore,
and told me she thought I’d become socially awkward since I got to college – I was a lot more cool in high school,
and won homecoming prince and class president a couples times each. I guess she couldn’t even be attracted to
me once the respect and admiration she had from when I was those things faded away. She said that she still
loved hanging out with me until the end, but that the sex was just a chore she pretended through to keep me
happy, and hide that deep down inside, she felt the opposite of how she’d insisted she had to me every day we’d
been together. Her favorite “pinky swear” was the “forever” promise and she made me do it so often. She’d ask
me, “forever?” and hold her hand out, and then I’d lock my finger with hers and reply “forever.” She would always
break the biggest smile after that, and then jump up and grab on my shoulders. I’d pick her up and we’d just hug
each other after that. It used to be such a sweet memory.

Just about 9 months or so before that, I’d gotten her a dildo as a present – she’d wanted one for a while, but was
too embarrassed to actually go out and purchase one herself, and so asked me to do it for her as a gift, which is
was more than happy to. She said she loved it and (though never with, or in front of me) told me she used it every
day. We were always very sexually active and into each other before then, but she gradually became less and
less interested in generally having sex after she got the dildo. I asked her if anything was the matter, and if she
was still enjoying the sex as much as she had before; every time she’d reply that she thought I was as attractive
as she always had, and that she was just naturally losing the desire to bang quite as much as we used to, as
anyone would four years into a relationship. I understood this and felt the same, but the only. The difference was
big enough where it was impossible for me to ignore, but I’d reassure myself her change in enthusiasm was just a
natural consequence of her also having the dildo to provider her pleasure. I remember her saying she’d stop
using it so the sex would be “especially good” when I saw her, and me insisting she not, because overall, she’d
get more happiness from using it in the meantime than we’d get in combination from her being more excited for
the first sexual encounter.

In this first conversation, she just expressed her dissatisfaction with the relationship for the first time, but said she
still loved me and wanted to make the relationship work. She listed all the things she wanted to try, like starting to
have skype sex sessions with each other while we were apart at school, or her taking her Uncle & Aunt’s car to
visit me on the weekends while we were in school (she had a lot more free time than me while we were in school).
I said I couldn’t believe that after so many years of me doing ridiculous things to help her with body issues, she
couldn’t be aware of how much that would hurt me to hear from her; that she wouldn’t have cared enough about
my feelings (if this was the real reason) to not wait until she’d already decided she wanted to end it for sure, and
then come up with some other fake reason I’d believe, and tell me that instead. After a while, I said I was sort of in
shock from all this, so I said we should sleep on it and have a longer, very serious talk about what to make of our
relationship the next day, she agreed, and I went to bed.

Early in the morning the next day, I woke up and went out in the woods to talk to her, but right when I arrived at
the little hilltop with a view that I always paced around at when we’d chat back in the day, she sent me a facebook
message saying she didn’t want to make it work or talk about any of the things she’d said the day before, and that
she couldn’t emotionally deal with talking to me for 6 months or so if I remember correctly, because she’d loved
me so much and the breakup was going to be too hard for her to bear already, and that she was sorry for leading
me on so hard for the past few years.




                                                                                                                 DARTMOUTH001308
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 12 of 48



The fact that we broke up that day isn’t what broke me. It was that the person I cared about most in the world, and
who I thought, and had always reassure me she felt the same, didn’t actually care enough about me once she’d
decided she didn’t want me as her partner anymore, to just simply not do this in the most hurtful way imaginable. I
kept trying to see things from her perspective so I could make sense of it, but I couldn’t imagine any thing or
situation that could conceivably make me do these things to my RED . Looking back at things now, I guess she
probably just wanted me to think that she felt the same love so I’dACT
                                                                    keep giving her the affection I’d always
provided her up until the end.                                     ED
Since then, I haven’t actually been able to look at my relationships with people the same way. If the person I’d
been closest to in my entire life could’ve been faking her affection for so long, how could I ever believe that
another person I’m less close to for the rest of my life really cares about me in the same way I do about them. I
still don’t really know or understand when or why she stopped thinking I was the cool impressive person that she
cared about so deeply at one point, but at the very start, it broke me that she’d agreed with the opinions of every
other person or group I’d tried to gain the approval of since I’d started school here. My closest friend at school,
who’s the closest person to me in the world now that I think about it, and I’ve never told him that before, even
though we both know we’re closer with each other than we even are with our own families. He’s the person who
helped me find a place to stay here so I wouldn’t have to write this appeal while dealing with all the anxieties of
being home, and the only person that’d lay there and cry with me about this happening to me.

Now, I can remember parts like her hair, chin and ears, but I can’t actually remember exactly what her face looks
like. I can imagine the faces of all her friends and relatives who I saw once or twice, but for some reason the
person whose face I’ve seen the most times in my life is the only one I can’t remember.



She started blocking me on all contacts after that. I couldn’t comprehend how she could care so little about
exchanging last words, or trying to be friends afterwards, or just telling me what actually happened so I wouldn’t
just come to hate every part of myself and who I am that made it so I stopped being good enough, or worth caring
about as a friend just because she wasn’t sure she wanted to be with me forever anymore. I switched between
my apps as fast as I could, trying to find ones she hadn’t blocked me on yet so I could plead with her to talk to me
one more time so that we could end it differently. In response to one of my messages, she told me I should go to
her mom if I needed someone to talk to. This hurt me for reasons I’ll have to explain.

REDA ’s mom RED (I only ever called her by her nickname – “ RE ”) is probably not like anyone you’ve ever
met.
 CTEDShe went to   UPenn and worked some at some prestigious law
                ACTE                                                  DA firm in her earlier years, but her father in law
was a super famous D doctor with a street, and a whole bunch of otherCTEthings named after him at UPenn, and they
both retired decades ago and have been living off the money he left their father when he died at a young age.
                                                                        D
They lived very comfortably, spending most of the year on vacation seeing relatives, but, as is common in my
hometown (where highly educated stay-at-home moms with Ivy League degrees are the norm), RED became
increasingly troubled by her own sense of purposelessness. I remember one time right when we’d            graduated from
                                                                                                       ACTE
high school, she started telling everyone about how she was going to apply for a job at Trader Joe’s     D because she
wanted something to do that’d keep her busy, and then later when it was just us in the kitchen and she conferred
with me about how sad and empty she felt, and then helping her and not being able to believe how well it worked.
After REDA and her Brother had both left for college, this manifested in her effectively becoming REDA ’s
personal
      CTEDservant. She did absolutely everything for her, and REDA loved it and would openly talk CTED     about how she
could simply ask her mom is she wanted literally any task completed
                                                                 CTED that she didn’t want to do herself. RE even
told REDA that if she was ever in a situation where she needed an excuse to rationalize her actions, she        DAcould
say her
     CTEDmom   made  her do it, and then pass off the situation for her to  handle, and  REDA     would  brag  to
                                                                                                               CTEbe about
how awesome of an out it was to have and used it an incredible amount (more thanCTED       you could imagine might be
                                                                                                                 D
possible). So when REDA told me to talk with RE , I felt this was certainly what must’ve been going on at the
time – that I was justCTED
                       an annoying obligation thatDAshe wanted to brush off instead of deal with.
                                                  CTE
Thinking back now, I still don’t know if she couldn’t speak to me because what she did immediately before the
                                                   D
breakup was so bad she wasn’t even capable of speaking       to me about it, or because she secretly cared about me
so much less than I somehow believed. These sorts of things from the end of the breakup still haunt me every day
of my life.

I took the offer to talk to her mom, even though I felt REDA had direct me to her for this reason, because after
being around the house every time REDA and I hadCTED     hung out there over the years, she’d become the only
person I was close enough to really CTED
                                      understand how close REDA and I really were. After we left for college,
                                                               CTED




                                                                                                                  DARTMOUTH001309
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 13 of 48




 RE started to become increasingly neurotic (she used to openly talk about it to me at length, but she suffered
from
 DA bi-polar disorder, depression, anxiety, ADHD, and took enough psychoactive drugs each day to kill most
CTE several times over) in a bunch of new ways, one of which was to try and control when REDA and I could
people
be together when we were home to make sure they had adequate personal family time, whichCTED      was especially
  D
insane because their family already spent more time together than any I’ve ever witnessed. The fighting
happened between her and REDA while I wasn’t there, but when REDA would tell her she was being
overbearing and insist I be able to come over or spend the night while
                              CTED                                       we were on break, she’d act super weird
                                                                      CTED
and uncomfortable when I was over after that, which eventually resulted in her starting to openly antagonize me
from time to time. Things got complicated between RE and I after me and REDA left home for college, in
short. Still, in so many ways, she was like a second DA
                                                     mother and close friend to   me for all those years. We did
                                                                               CTED
chores together, and walked their dog Lucy when REDACTE     was  feeling too lazy to join, and sent each other funny
videos and interesting articles we thought the otherCTED
                                                     would like on facebook.
                                                        D
 RE and I got Starbucks and went on a walk in the park where I told her most of what I’ve described here. She
couldn’t
 DA      believe it. I asked her, “with how she ended it, how will I ever be able to forgive her so that we can ever
even
CTE   be friends again,” and she told me she didn’t know, because, what person could after the way she ended it?
And she also said that I needed to promise myself I’d make sure to not ever allow myself to get in a position
  D
where someone could take advantage of me again like this in my life. There are so many things about this
conversation I still don’t know: if RE was just there because REDA had asked her to have the difficult last
words of this relationship with meDA so she could feel a little less CTED
                                                                     bad about not being brave enough to have them
with me herself. Another way of putting
                                   CTE    the dichotomy    between    these two versions of reality that could be true in
my mind, but that there’s no way for me to discern between: Babs could have talked to REDA , and learned
                                     D
whatever really happened, and was saying whatever she thought would help resolve theCTED       situation easiest, not
because she cared about me at all, but because she cared about REDA . She could have also known whatever
really happened, in which case my interpretations of what her words        implied were probably accurate, especially if
                                                                        CTED
what happened is as bad as I can only assume. Regardless, I know without a doubt she would have been there if
she didn’t have another agenda to pursue back then – I’d forgotten how close we used to be until writing this now,
but we really did love each other. We were like family. I remember us crying and hugging each other in the car,
both unable to say goodbye until my parents eventually came by where we were parked (I hadn’t told them what’d
happened yet), and so I jumped out to leave before they’d see what was happening. Before I’d left at some point,
 RE also said it was too fucked up that REDA could just end it without even giving me a final conversation after
all
 DAthese years, and that she’d tell her to give
                                           CTED it to me later that day.
CTE
Later that day, we talked on the phone very briefly. There questions I remember asking her at the start were, “are
 D sure you don’t want to try any of the solutions you tried before,” “how could you convince me to find the
you
money to make that trip to Denmark and all the things we did during it if you knew you hadn’t been sure about the
relationship for so long,” and “what about the trip to Canada we’d planned to go on in two weeks that you were
covering to get me back for stuff we did in Denmark?” She instantly replied admitting how wrong this was, and
saying she’d pay me a few specific purchases she didn’t really give me an option to not make on her behalf, even
though I’d resisted in each case, or only made the purchase after she said that she’d compensate me by covering
a short trip to Canada we’d arranged to go on with a mutual friend and her boyfriend from Germany. Originally,
these included a dinner where she’d made me pay hundreds more than I’d repeatedly told her we could for weeks
leading up to it, and a border fine I incurred while coming back from Denmark and got caught with an alchohol-
based marijuana product she’d purchased for her friends at home, put in my bag with a bunch of other things she
didn’t have room for in her own bag, and so asked me to take back for her in my own.

                                                            * * *

This dispute over money is ultimately what caused this situation to proliferate, and what motivated me to write the
emails that I was expelled for, and so I am going to go into all the details of the situation to try and make sure
you’ll at least be able to really understand everything.

When she called me on the Monday after she’d gone on her trip to Canada with REDACTED and expressed
dissatisfaction with our relationship for the first time, I asked her how she could’ve told me otherwise for so long if
she really knew that she’d felt that way. I told her how used I felt after she’d gotten me to spend a ludicrous and
unprecedented amount of money on her in the past 9 months if she’d really felt the way she’d described, and she
responded something along the lines of: “you’re right, I can’t believe how fucked up of me that was, and I’ll at
least pay you for the expensive dinner and border fine you paid for in Denmark.” This is what the $800 dollar debt
that I kept insisting she had to repay me for, or at least explain why she didn’t think it’d be appropriate for her to




                                                                                                                 DARTMOUTH001310
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 14 of 48



pay me anymore. The dinner was at a Michelin Star restaurant – we are both really into food, and I figured it’d be
a really sweet and precious memory we’d enjoy from while we were young for the rest of our lives, so I found one
that’d be ~$300 for both of us to go to eat at while we were there to celebrate our anniversary/her birthday. The
wine menu was incredibly expensive, (~$200) and she was really into drinking at this point, so I told her we should
go get drinks at a bar beforehand so we’d wouldn’t have to pay for the ones on the menu. We did this, but after
we got to the restaurant, she started saying she really wanted it, and talking about how much it increases the
quality of the meal and places like that, and I thought it’d be better to just do whatever to make the experience
perfect since I was already spending a couple weeks of spending money on this anyways, and that it might not be
worth it to be stingy here if it might ruin or diminish the memories we’d have of what I’d already spent on, etc.

The border fine I’m describing is one I had to pay when I came back from Copenhagen and was randomly
searched at border customs. They found two shot bottles of marijuana-infused alcohol in a bag inside my luggage
that REDA had filled with things she wanted me to take back for her because she didn’t have space inside of her
own CTED
     luggage to take them back. Thankfully, this merely resulted in me having to pay a $500 border fine. Although
she was entirely responsible for me incurring this fee, she had been spending far beyond her allowance while
abroad and was already strapped for cash, and paid for half of it to help relieve the burden she’d brought upon me
without making her own situation more dire. If you look at the email to my parents RED included in the police
report (presumably just to taunt me since it doesn’t contribute to the narrative that ACTE
                                                                                      I posed a threat) you’ll see they
never even paid me back this amount.                                                     D
In advance of all this though, REDA had generally been asking me to do a lot of things I’d told her were very
hard for me to find the time and  money for over the last year or so before our relationship ended. She’d convince
                               CTED
me to do these things by saying it was too hard for her to be away from me so much, or because it’d be worth the
time and money to see her relatives in the long-run if I was really as committed to the relationship as she was, so
when she revealed that she’d actually been lying about how she really felt for all that time, my first initial reaction
was to think that she’d been hiding her feelings (wittingly or unwittingly) so that she’d be able to milk me as hard
as she could until she eventually came by a good opportunity to leave me. One way or another, it felt like she’d
manipulated me, and her immediate and vehement promise she’d pay me for the two things when I’d just started
to express this suspicion as it arose in my mind during our phone call, and refusal to just give me another
explanation to believe in so these things would hurt a little less, or repay me the amount she’d promised me she
would without me asking, made it seem like she certainly felt that way as well, so that was the only explanation I
could believe for what’d been going on in our relationship for the past year after then.

The two things she said she’d pay for made up the original sum of $700 or $800 (I think she’d just promised to
pay me for the items, but hadn’t agreed upon a valuation, and these were estimates of what it’d come out to). I
remember this changing at one point because of a situation that came up regarding our flights back east for
school in the spring. Whenever we went back to school, I’d always go down to RE and hang out with her and a
bunch of friends I know there from high school (one of my best buds form high school
                                                                                   DA is in a frat there I’d stay at a
lot, and that made me an “honorary pledge” with a pledge name and all). Thus,CTE    we’d bought tickets in advance to
fly back together a few days before housing became open here at Dartmouth in anticipation I’d be staying in
                                                                                    D
Boston. When this no longer became the case, and it was clear I’d have to go later since I didn’t have a place to
stay, I asked her if we could work it out as soon as possible to see if I could get my flight changed for free. She
told me that she’d have her mom handle it, and after we’d stopped communicating for a while, revealed that she’d
changed her own flight instead of my own, despite me having been so deliberately clear that this was,
unfortunately something we’d have to exchange a few pieces of information and quickly resolve now that we’d
broken up. This resulted in my parents having to pay the cost of changing my flight – $150 – while REDA was
able to get her own needlessly changed (she’d chosen when we were leaving at her own convenience),     CTED  and so I
tried to get them to pay for this briefly, but guess I must have dropped it or something. This all happened so long
ago, and over so many countless days and events that I’ve just been trying to forget, that its not really possible for
me to reproduce every exactly detail surrounding what happened for you. But these are all the ones that I can.

Later on, she would go on to tell me that she wasn’t going to give me this money anymore, but refused to provide
me a reason why. My assumption was that, because she had already spent more than she was supposed to over
the previous months (her parents were planning to have a “serious talk” about how she’d been spending when
she got back home), and so she just decided it’d be easier to rationalize some reason why she didn’t, or shouldn’t
have to anymore (especially since the only ramification of acting immorally here would be hurting me, and she
could do so without consequence once it started to seem like we probably wouldn’t ever see each other again)
rather than just pay me for a small fraction of the things she’d convinced me to buy for her against my own will
and reason. The reason I demanded an explanation in lieu of the payment she’d promised me, was because in




                                                                                                                DARTMOUTH001311
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 15 of 48



the case she decided not to give it to me, I couldn’t accept that she wouldn’t even acknowledge what she was
doing was amoral. I knew it was well within her right not to, and that its atypical for someone to compensate their
former significant other at the end of a relationship for expenditures of this type but I also knew that if she hadn’t
simultaneously been lying to me about how she really felt about the relationship, and also incessantly demanding
I pay for so many things I kept telling her were beyond my means, there’s no way she, or anyone else in the world
could’ve gotten me to spend the amounts she’d asked me to on her. When she expressed she also agreed this
was the case, that she’d manipulated me, and that it’d (at the very least) be fucked up of her to not at least
compensate me for the costs she was most directly responsible for that I’d incurred over the past few months, it
made it impossible for me to believe that deep down inside, she might not know how fucked up it was for her to
swing on this without explanation.

Related to this is a complicated financial situation that was brought to my attention sometime in the mid-late
spring. I noticed that I had been billed for winter-term housing and food, despite not having been there, also
having done all that was necessary to inform them I’d be off that term, and having evidence of this, so I reached
out to the financial aid office to ask what was up. At this point they notified me that they’d remove the bill for the
meal plan, but that if I wanted them to undo the charge they were entire responsible for, I would have to talk with
people in my own fraternity, explain the situation, and get them to return the housing stipend which the school had
paid them out of my billing account. They also did not explain how I should go about doing so, which resulted in
the problem going unresolved even after I did what they’d asked me to and started an email chain with the billing
office and my frat’s treasurer. Additionally, at this time, they let me know that the billing office had not used my
scholarship funds to cover my housing costs during the fall term of 2016, but instead, had given added it to a cash
balance the school gives me at the start of each term to cover personal expenses. I think the lady I spoke with is
named Christen O’Connor, but at this point she also revealed the accounting error had resulted in me having
uncovered housing fees from that term, and that they had, and would continue to be charging me an interest rate
you might pay on credit card debt on the balance until I paid it off. So essentially, I was told in the spring after I
raised mistake billing had made to their attention, that the money I’d used to pay for virtually everything I’d done
between the start of the fall term and the end of winter break (almost entirely things I’d spent money on while
doing with REDA ) and had been told was a debit balance I could spend on things like clothes, dorm supplies,
and personal   expenses, was actually a high interest loan I’d taken out and not been told I’d have to pay back until
             CTED
long, long after when it was impossible for me to do so. Throughout our conversations, the people in the billing
department have been painfully unwilling to consider that this would be tantamount to your bank depositing more
in your bank account after your employer directly deposited your paycheck. If additional amount they deposited
wasn’t large enough for you to think there was probably a rational reason for you to receive whatever amount you
had, how would this not just be sneaking a high interest loan on top of the cash going into your account, and then
not showing the amount owed on your credit account until 6-months later when interest equivalent to 20% of the
principal had already accrued?

Anyways, this term I received a check-in hold and was told I won’t be able to attend classes unless I took out a
student loan to pay off the amount I owed before the check-in deadline. They also finally got to actually removing
the fees they’d totally incorrectly billed to my account for winter housing and food just at the start of this term, but
also had the audacity to deny any culpability in creating an undesirable situation for me as a result of accounting
errors the department had made because allegedly, the department does not make mistakes. Anyways, dealing
with this intensely frustrating issue that I’ve been vehemently blamed for singlehandedly causing, and
remembering what I spent most of the money on each time and why, hasn’t made what happened in that last year
of our relationship any easier to forget.

                                                           ***

After that, I started to ask her why she really ended it. There were so many unanswered questions, it was hard to
help but think. I told her that no matter how much she thought it would hurt me to hear the full truth, it’d still be so
much easier for me than the alternative – thinking every part of me I had any reason to think might not be enough
really wasn’t and that this was the reason she ultimately lost her admiration for me as a person. She’d only give
me the answer about sex, so I started to ask if she’d cheated on me. I asked if she knew what her
unresponsiveness throughout the weekend, in combination with her reasoning for breaking up with me implies
she was up to with her friend over the weekend. When I asked her the last question, she totally lost her
composure, and couldn’t muster a response. After a few seconds of mumbled crying, and a delayed utterance of
the word “no.” I kept screaming “How?” and she just kept crying more and more. Her silence here was the only
other thing she provided that could let me understand what happened. At the end of the call she said “I’m sorry I
can’t do this Mark” and hung up. It was five minutes long.




                                                                                                                 DARTMOUTH001312
         Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 16 of 48




 REDA meant the world to me, and losing her like this would’ve crushed me regardless of when it happened. But
 then,
 CTED  it made all the pain of the other insecurities I was dealing with at the time worse. Whenever the thought that
 I might really be ugly, or stupid, or unemployable, or not cool enough crossed my mind, it became a possible
 explanation for everything that’d happened which I was powerless to stop myself from dwelling on endlessly.

                                                           ***

 Aside from that, everything else from between the time between when we broke up and when she was about to
 arrive back home for school, so everything here is based on what I can remember as I go back through the emails
 we exchanged during that time.

 Looking back now, I guess I actually didn’t reach out to REDA or her family at all until after she reached out to
 me on February 28th, a week after we’d broken up (it seems   CTEDfrom the contents of the emails), to apologize for how
 she’d ended it. None of this happened during the time period which I was accused of violating Dartmouth’s
 community standards of conduct during, but all of it is necessary to truly understand and make sense of what
 happened during the perpetrated the activity I was expelled for a few days ago, so I hadn’t gone back and looked
 through these emails until now. Truthfully, it’s because the memories of all this, especially after what happened
 during the Spring term, are too incredible to bear. I guess the only way I could stop them from seeping into my
 every waking thought was to try and forget as many of the little unanswered questions she never gave me a
 chance to ask, and try to rationalize how the little bits I do feel like I know enough to understand can really be
 pieced together to explain the little blank spaces in-between them that I’ll never be able to make sense of.

Since before we met one another, REDA had a reputation for very unexpectedly doing things were are cruel or
unfair to the people she was closestCTED
                                       to, and then rationalizing her behavior if confronted to try and make her victim
seem like the antagonist. Although she was popular in high school, she had more high-profile fallouts with the
people she was closest to over those years, almost always spanning from her total lack of remorse for whatever
she’d done, or refusal to acknowledge it – which manifested in her being known for having a very “selective”
memory for simply trying to pretend things she couldn’t recall bad things she’d done in the past if it seemed like
she’d be able to get away with it in the particular situation Of the people she hung out with on a daily basis, she’d
express a level of resentment, and extreme jealousy towards any girl that was attractive (no matter how close she
was to them) that was so different that what you’d expect from observing her interactions with them that it made me
worried for her. I also thought these feelings might relate to the other insecurities she was dealing with, and said
she might want to seek help for both in concert. Whenever I brought up my observations to her (we were incredibly
open with one another, and constantly had open dialogues about these sorts of things all the time), she’d readily
acknowledge that she was, or had been cruel or wrong in whatever instance we were discussing, thank me for
caring enough to bring it to her attention, and agree she needed help.

She did things like this to me too from time-to-time, but we’d always talk them out and after a calm respectful
conversation (no matter how long it took – that was our rule we’d always pinky swear on). Little things, like
becoming visibly upset if I ever asked to watch anything but her foremost program on TV: or agreeing not to eat at a
certain restaurant while we were on the way to meet up with a friend to get food, and then suddenly acting so
excited about that same option once the other person had joined us that I’d seem like a jerk for opposing. They
were very occasional, and if I were the one to point things out to her, she’d almost always acknowledge what she’d
done. If anyone else said or did those things to me, it wouldn’t have mattered to me. To me, their words or actions
would just be expressions of their own shortcomings or contorted worldview. From her, I guess they suggested the
person who required such a high level of care and affection from me, and that I cared for so deeply, might not
actually care enough to think about my far, far, lesser needs for this care, to consider or value them in the same
way. It was just the total certainty I could never imagine pulling a similar stunt on her, and how certainly she’d be
angry at me if I did. A few times she turned on her very best friends, because she thought they were being annoying
or needy for texting her the same amount they always did, or when she’d always tell me her best friend from high
school, REDA , was such a slut, or desperate for sex whenever she told REDA about some new guy or hookup
( REDA CTED
          has always been jealous of how much attention REDA gets form             guys since they were very young, and
                                                                                CTED
she was
  CTED    aware  of this, and we  talked about it a number of times
                                                              CTED  and  I tried to help her with it, but it didn’t really
change over time now that I think about it). On a few instances where she’d done this and I’d present my thoughts
and concerns to her, I’d confess that observing her speak about and treat people she’d mislead to believe that she
cared so deeply with so little respect made me worry that someday, she’d eventually do the same to me. Her
assessment of what made her behave this way was that her insecurity manifested a sense of jealousy within her,
and to cope with the feeling, she’d lash out at whoever she thought might be better than herself in some quality of
importance to her, like intelligence or beauty. To reassure me, she always told me I was the only person she’d met




                                                                                                                  DARTMOUTH001313
         Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 17 of 48



in her entire life and not felt that way towards. She always said I was the exception, and that the whatever she said
she felt to my face was nothing more than an expression of how she truly felt, and that despite us having spent
more time together with each other than we had with anyone else but out families over our whole lives, she had
only come to love me more with each passing day we spent together, and that I was the sole person she’d been
close with and not come to ever feel that jealousy towards, because she said whenever I accomplished something,
it made her proud and happy too.

When I got this first email from her after a week after the breakup when we’d stopped contacting each other, it
made me feel like she was doing all this to me. In my mind, there were only three possibilities. She could’ve secretly
been cheating with me for any amount of time, but lying to me so she could keep the relationship going, and
continue getting support and comfort from me until she felt too guilty to keep it going. She could’ve also been telling
the truth in the email, and not meant any of the horrible things she said to me on the phone that I couldn’t, and still
can’t believe she was capable of saying to me at the time – but then what could have caused her to say then in the
first place? With the pieces of information I had though, the only explanation that made sense was that she’d felt
what she said so deeply down inside that it made her cheat that weekend, knew it had to end after that, but felt so
guilty ( REDA might lost her composure more in emotional situations than anyone else I’ve ever met) that she
couldn’tCTED
          gather herself enough to do it right, and as a result, ended up doing it the way she did. I honestly don’t
know if that’s any more right or wrong now than I did back then, but since I couldn’t rationalize why she wouldn’t do
any of the things that would’ve made this hurt me less, like care enough to have waited two weeks until she got
back so we could’ve ended it in person, or think about the circumstances she was ending the relationship in, what
they would imply to me, how much that would hurt, and how little thought or care it would’ve taken to prevent me
from having to feel that pain. The lack of care either implied our relationship, my feelings, and the prospects of
being friends again someday mattered so little to her by the end that she didn’t even force herself to stop, decide
how she felt, and then show me consideration by acting on her sentiment in a way that wouldn’t hurt more than it
had to. And at the time, I was too hurt to assume anything but the worst of her. I thought her rendition of the
conversation we’d had the past week was substantially altered. I thought this was because she’d altered it to
rationalize what happened, and hide from the guilt of making me feel as hurt as she couldn’t know I was
experiencing (we hadn’t spoken in a week), but that she must’ve not been able to forget how much probably hurt
me based on what she said. Now, after everything we shared, I felt like I’d awoken on the back end of her using me
up, throwing me aside, and then figuring out a way to rationalize it to herself so she wouldn’t have to feel as bad
about things afterwards.
                     REDACTED




Other than the 5-minute phone call she cried for most of and hung up at the end of, we hadn’t had last words. As
more time went by, and I sat alone at home with nothing to do but sit in my apartment and walk to the lookout in the
woods where I used to go when we talked on the phone and read books, I grew more and more angry that she
could unnecessarily hurt me so much. I felt like she’d hurt me and made me feel like a fool for no reason, and **. I
felt that if I kept holding in how I really felt in what I said to her, I’d just be allowing myself to continue being tricked
and controlled by my thought of who I thought she was and what I’d thought we were, that’d made it so the only way
I knew how to resolve any problems that arose between the two of us was to talk them out and make sure both of
got to share anything on our minds, and also tried our very best to understand the other person’s perspective if
there was a disagreement – that was another one of the pinky promises we made the most. Now that she’d
presumably cheated on, and thrown me away like this, though my impulse was to be kind to her – it’s the only way I
knew how to treat her, and the inclination was so strong it still spilled out in the second half of this email in which I
was trying to repress it – I started to loathe myself more and more for how pathetic I was for letting it continue to
dictate my actions and make me hold back how I truly felt about her ending it the way she did.




                                                                                                                     DARTMOUTH001314
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 18 of 48




                                                                                               RE
      RE                                                                                       DA
   RE DA                                                                                       CT
   DA CT                                                                                       ED
   CT ED            RE
   ED               DA
                    CT
                    ED
                                   R
           RE                      E
           DA                      D
           CT                      A
           ED                      C
                                   T
                                   E
This email of mine which wasn’t included in the Judicial Affairs case file, but I’m showing it here in this complete
                                   D
record of virtually all the correspondence  REDA and I exchanged during the period when I committed the
actions that I was eventually expelled for, CTED
                                            in order to make sure I communicate every piece of information I can
that might contribute to your understanding of what happened.

It hurt so much that after I’d spent so many years helping her with her own body issues, the things she said to me
on the phone just drove me insane. Between then and when she sent me the apology letter, my pain turned into
anger, and my anger made me want to do something to show her my physical affection for her had been as fake
as she said hers had been for me. This is when my ability to repress that evil emotion began to falter, and the
feeling it’d be easier for me to move past what’d happened if I did let it out was the only in my mind that I could
explain or believe. I was ready to believe any understanding of the situation I could rationalize then, and out of
that desperation, became weak enough to believe it was right to consciously say something that’d make her feel
the pain that she’d made me feel with what she said in the end, and those things were the best I could come up
with.

                   REDACTED

                                                                           R
                                                                           E
                                                                           D
                                       REDA                                A
                                       CTED                                C
                                                                           T
                REDACTED                                                   E
                                                                           D
                REDACTED

     REDACTED


      RE
      DA
      CT
      ED




                                                                                                               DARTMOUTH001315
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 19 of 48



These are the three logistical things we needed to resolve before we’d be able to stop communicating with each
other until the time she got back in a few weeks, and I wanted to work them all out so I could stop speaking to her
(until then) as soon as possible. I just wanted to get my things back, see her face one more time so it’d be easier
for me to internalize what’d happened.


     RE
     DA
     CT
     ED
     RE
     DA                 RE
     CTE                DA
      D                 CT
                        ED           R
                                     E
                                     D
      RE
                                     A
      DA
                                     C
      CT
      REDACTED                       T
      ED
                                     E
                                     D




     RE
     DA
               R
     CT
    RE         E
     ED
    DA         D                         RE
    CT         AR                        DA
    ED         CE                        CT
              TED
        REDACTED                         ED
               DA
                CT
                ED
       R
    RE E
    DA D
    CT
To me, Awhat she said about the money was tantamount to her saying: “those two things you said to me were so
    ED
cruel and
       C unfounded that you deserve to lose these the money that I was the one to bring up and suggest would
be fucked
      TE up for me not to pay you.” It confirmed the suspicison that had been driving me mad – that she’d just
come upD with some alternative narrative that absolved her of wrongdoing, and which she could walk away from
this without feeling bad about it by believing – when she accused me of trying to manipulate her by using her
mom, because I really only told REDA what RE had actually told me right after the breakup, and for the sole
purpose of trying to convince herCTED
                                   what she’d done
                                                 DA was cruel when it started to seem more and more like she
wouldn’t even acknowledge that for me anymore.  CTE
This was a lot of money to me and my family and  D almost nothing to her’s. After feellng so deeply disrespected
already, this made me more angry and spiteful than I’ve ever been in my entire life. How could she so strongly
feel I had no right to express the exact same type of hurtful thoughts she shared with me, after I pleaded she just
do any. I guess I really just wanted anything that’d reassure me she at least knew how hurtful what she did to me
was, and that she cared in some way, so I could feel like I knew she really did care about me in the end, and what
we’d been through wasn’t really a lie. That’s really what I was so really desparately begging her to give me now
that I look back.

I took her response to mean she didn’t think all the things she’d said and done couldn’t possibly justify any of the
anger and hate I felt towards her, and that she should’ve been able to comeback whenever she wanted to and




                                                                                                              DARTMOUTH001316
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 20 of 48



expect me to still be there pleading she help me change things so that we might be friends again someday. I don’t
totally know why now, but it drove me mad that she wouldn’t communicate the logistical things we actually needed
to resolve. I guess when I explained it’d make things easier for me to handle them sooner than later, but she
refused to, and drew out the process for so long nonetheless, it felt like another instance of her disrespecting me
for no reason other than that it wasn’t of consequence to her, and she didn’t have any personal motivation to
complete them so why bother instead of just having him wait? But the things I said after I’d started to think I might
just be sitting back and letting her be unfair to me one last time, and that I was experiencing my final moment to
achieve some better justice than I’d been dealt (which I couldn’t live with myself for having been too in-control and
reserved to capitalize on if she was really going to withhold the money from me) and so had to do something now,
or just live with it forever. I do wish I’d just sat back and lived with it – its one of the couple of times in my life
where I wish I’d listened to my parents advice, and the only time I can remember between now and when I started
dating REDA that I couldn’t just accept someone else had done something shitty to me, understand what they’d
done toCTED
          me was probably a manifestation of some shortcoming of their own, and be the bigger man by being
unaffected by whatever they’d done, and coming out of the situation with nothing more than a mental note that I
should expect that person might do the same sort of thing in the future. Before I was expelled, and despite these
being the worst things I’ve ever said or done, RE had already dealt me a greater punishment relative to my
transgressions that anyone has in my entire life.    DAI have PTSD like symptoms from multiple things from them that
come up in my everyday life and I don’t know CTE     how to make go away, or if they ever will.
                                                    D any intention of manipulating her in any way when I told her
I said this during the hearing, but I really didn’t have
what her mom had said, and still don’t know what she was talking about. I think I was just trying to use every
method I could imagine to communicate things to her. That way, I could at least rule out the possibility she might
be acting the way she was because she didn’t know how it’d made me feel, or thought it wasn’t actually that bad,
and that I was just being unreasonable.


      RE
      DA
      CT
      ED                                               RE
                                                       DA
                                                       CT
                                                       ED



                                                                                              R       RE
                                                                                              E       DA
                                                                 RE                           D       CT
                                                                 DA                           A       ED
      RE                                                         CT                           C
      DA                                                         ED                           T                  RE
      CT                                                                                      E                  DA
      ED                                                                                      D                  CT
      RE
                                                                                                                 ED
      DA
      CT
      ED
This is truly how I felt. I don’t really know what else to say. I still really can’t believe after everything and how she
ended it, that she could think that what I said in that email to her was so different than what she’d said to me,and I
was so unjustified for saying it instead of unconditionally forgiving her one more time and taking the sorry note
she left me a week later, that she could just withhold money she’d suggested that she owed me.

I felt like I knew REDA so well that deep down inside, I felt like this had to be a misunderstanding in some way. I
truly felt deep down inside that with enough time and me just trying to talk things out and explain things to her,
                   CTED
she would eventually gain her composure enough to be able to act like she always had and show she wanted to
understand and care about how I felt. I thought she’d eventually come to see that we really could’ve had the




                                                                                                                 DARTMOUTH001317
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 21 of 48



option to be friends again someday if we got to a point where it might be good for us to be, and so I reached out
to her again 5 days later.




                      RE
                      DA
      RE
       R              CT
      DA
        E             ED
      CTE
        RE
       D
       D                                                                            RE
        DA
        A
        CT                                                                          DA
       CT RE                                                                        CT
        ED
       ED DA                                                                        ED
         CT
         ED
      REDACTED




      RE
     RE
      DA
     DA
      CT
     CT
      ED
     ED

     RE
     DA
     CT
     ED
     REDACTED




    RED
    ACT
     ED

     REDACTED




       RE
       DA                                                                     RE
       CT                                                                     DA
       ED                                                                     CT
I don’t know why, but I really did find it torturous that she wouldn’t just give me a time and place we were meeting.
                                                                              ED
I gave her an agenda, freedom to choose the duration and place we’d meet, and asked so nicely her to just
decide her preferences for this last contact so we could settle the logistical actions we had to perform as a result
of the breakup, and when she wouldn’t do that for me after I’d asked so many times, I took it as another act of
disrespect, and her showing she actually had virtually no respect or care for me as a person now by refusing to do
something that would take her almost virtually no time or effort (we were only going to be in the same place
simultaneously for a few days, and had no obligations). I guess now she probably couldn’t, or didn’t want to
accept that she’d have to see me again for some reason, and that’s why she wouldn’t answer. I still don’t know




                                                                                                              DARTMOUTH001318
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 22 of 48



what could’ve made her feel that way, or how the sentiment could have been so strong that she was willing to
throw away what’d be the last chance for us to ever see each other again, but the only answers I could, and
slowly started to believe at the time, drove me mad.

       REDACTED



      RE
      DA
      CTE
       D        RE
                DA
       REDACTED
                CT
                ED

      RE
      DA
      CTE                                                                                                           REDA
       D                                                                                                            CTED
      RE
      DA
      CT
      ED


I really had accepted there was no chance it could be remotely healthy for either of us to continue a long distance
relationship a while before this point, but I still couldn’t cope with the fact we’d almost certainly never talk or hang
out with each other again with how it ended. I don’t remember sending these, but if someone else had sent these
I’d assume it was just a desperate attempt to


      RE
      DA
      CT
      REDACTED
      ED


      RE
      DA
      CT
      REDACTED
      ED



      RE
       RE
      DA
       DA
      CT
       CT
      ED
       ED
      REDACTED



I remember really just wanting to go to the DMV because she’d scheduled a time to go, and so if she said that we
could meet up together for the last time while she went out to do that, I could know for certainty when to expect
it’d happen. We always did those sorts of errands together (I’d take a book or newspaper and keep her company




                                                                                                                 DARTMOUTH001319
      Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 23 of 48



in the car or something) so its not as odd of a thing for one of us to ask each other compared to other people. In
hindsight however, it is abundantly clear why she would not prefer to see her ex for the last time on the way to the
DMV. At the time, my thinking was senseless, and I just took her refusal to provide me as her being rude and
disrespectful, and to serve no reason or purpose I could understand.

      RE
      DA
      CT
      REDACTED
      ED


      RE
      DA
      CT
      REDACTED
      ED



      RE
       RE
      DA
       DA
      CT
       CT
      ED
      REDACTED
       ED




     RE
    RE
     DA
    DA
     CT
     EDRE
    CT
    ED DA
       CT
   RED ED
   ACT
   ED
    REDACTED




     RE
     DA
     CT
     ED

     REDACTED



     RE
     DA
    RE
     CT
    DA
     ED
    CT
    ED




                                                                                                             DARTMOUTH001320
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 24 of 48




    RE
    DA                                           R
                                                 E                                  RE
    CT                                                                              DA
    ED                                           D
    REDACTED                                                                        CT
                                                 A
                                                 C                                  ED
                                                 T
                                                 E
                                                 D
I’d finally started feeling emotionally capable of seeing friends again and starting to tell people that we’d broken
up, so I went to the University of Washington to hang out with a friend for the weekend. There’s no need for me to
explain the details, but REDA and this friend of mine still hated each other for a particularly bad feud they had
many years prior (I remember,
                           CTED it was actually the feud where she became known for having a selective memory –
a perspective he went to great lengths to make public after feeling she’d wronged him, but couldn’t get her to
acknowledge it afterwards), though I was very close with both of them during my senior year in high school and
we hung out very regularly – I think I hung out with both of them after school at separate times almost every day
of my second semester senior year, but sometimes those times would overlap and they’d see each other while
with me. They always pretended to get along, and even seemed to enjoy each other at the time, but after, he told
me they’d actually still hated each other and just pretended otherwise so I didn’t feel like I had to pick which one
of them I wanted to be friends with. When I told him we’d broken up, he (pretty callously, like it was amusing) said,
“oh what dude? I thought you guys were going to get married someday?” He couldn’t have understood how hard it
was for me, or why that’d hurt me with how little information I could bring myself to reveal to him about the
breakup, but it honestly disturbed me. I think my facial expression alone told him that wasn’t the appropriate type
of commentary to make, and he quickly changed his tone and tried to comfort me the rest of the times we hung
out while I was home, but I think that initial response he gave me just ripped me apart. The version of this I
described in the email is dramatized, but based on that.

The reason for this is that it made me think about everything she did to mislead me into thinking she was
incredibly committed and certain about our relationship until the very end, which reminded me of my suspicion
she might’ve secretly been using me by the end by simply lying and saying she felt that way when she knew she
didn’t so that she’d continue to benefit from it. The thing REDA was referencing was a time when he’d asked me
if I thought I’d get married to REDA someday. This hadCTED     come up in conversations with friends a good number of
times before then, and I’d alwaysCTED say I didn’t know, or that I really hadn’t talked about it with her, even though she
really openly talked about & planned for the prospect of marriage very openly with me, and despite my hesitance
for the last few years we were together. One time in conversation in the past year or so before this, she described
how she had responded when a friend asked if she thought we’d get married, and then asked me how I
responded when people asked me. When I told her very honestly, she expressed that she was a little hurt in
some way, since she was more open with her friends about it and felt like me sort-of sharing it from mine might be
an expression of the fact that I was really less committed than her, and despite us having always relished the fact
that everything about our relationship – our respect, admiration, love, and affection for one another – was felt in
the same way by us both. I thought it might be good for me to be more open with the people close to me about my
thoughts like those anyways, so I said I’d let it out a little more when my buddies brought it up in the future to
reassure her – I love trying to come up with little ways I might be able to do something for myself to justify going
along with little things like these that might mean a lot to the people I love or know, even if I might not be able to
understand why they might even care about or value what I’m doing for them. If there’s a pretty good reason for
me to do it anyways, and it’d make them happy, the activity becomes more than worthwhile. The reminder of how
many of these kinds of things she’s asked of me until the end, and how readily, happily (and now I felt, foolishly) I
did almost, if not every single one of them that she asked me to.

At this point, one of the things I was incredibly anxious about at this point was that once I got back to school I
wouldn’t even have the heart to tell my friends what had really happened between REDA and I at the end,
because I wouldn’t be emotionally capable of confronting how it’d really ended eachCTED  time I told it to someone. I
don’t know if I hold myself to a high standard, or have a fear of public failure, or both, but when I try and fail to
achieve or produce an outcome, and then fail to despite having really put everything I had into it, it makes me
hate and doubt myself more than anything else. I think part of the reason I was able to work so much harder
during my internship this past summer and the first few weeks of fall term is that at work, I finally got
acknowledgement and praise for things I had worked so long and hard to either improve, or change about myself,




                                                                                                                  DARTMOUTH001321
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 25 of 48



but had started to worry more than anything in the world in the past few years I might never actually get a chance
to use now, and had actually toiled so long to foster them for no reason at all, other than that I wasn’t self-aware
enough to realize I wasn’t cut out for the job earlier, which’d at least have prevented me from being years behind
in the pursuit of whatever line of work might really be obtainable for someone like me. I couldn’t bear going back
to tell everyone I knew, and that I’d exclusively told my relationship with REDA was fantastic – because that’s
the only way I’d ever felt, and the only way she’d ever told me she did – that
                                                                            CTED  she ended it by sending a 3-line
message to me on facebook, and blocking me on all contacts aside from when she’d intermittently decided she
wanted to talk again. I can’t think there’s anything I wouldn’t have done to just help convince her it was worth it to
sacrifice a few hours of her life while we were at home to make a different memory of the end that I could believe
in and use to take the place of the one I kept going back to believing she must’ve only allowed to happen by
mistake when her emotions had stopped her from being able to be her true self, as I did, and knew I’d only be
able to abate the pain by forgetting. This term, two different friends who still didn’t know what happened between
us asked me if was still dating REDA , and I still just have to say “oh yeah, we broke up a while ago, wasn’t
working out” and hope my facialCTEDexpression, tone, and punctuality are enough to tell them how pained I feel from
the mere sound of her name, and desperately I don’t want to talk about it.

I had said dark things before this, but when I was simultaneously reminded of all the pain and humiliation I’d come
to suspect I might ultimately be suffering from on accordance of actions she perpetrated to use and take
advantage of me for the last part of our relationship, and confronted with the fact that there was no chance we’d
have a different memory of the end, but rather at best, a slightly amended version of the one we already had,

I also was so desperate for her to just tell me she was sorry and acknowledge that she had hurt me a lot more
than she had to, and that I’d just deserved a little more in the end than having to beg the way I was to get her to
do that. If she had virtually no understanding for what it must’ve been like for me, then I thought my impression of
our love and how special the relationship was might’ve really just a one-sided fantasy she’d accidentally tricked
me into living by saying words she didn’t mean but I was stupid enough to believe were real. I stopped being able
to control my emotions when I started believing I’d be a fool if I didn’t hurt her back the same way she hurt me
instead of begging her to say she way sorry, and as a result, resorted to writing the threats I made in this email. I
should’ve let the money go, it was within her legal power and authority to decide not to give it to me, and I’d give
up half my income for the next ten years now to be able to go back and tell myself to be strong enough to have
just walked away. At the time though, I just couldn’t take it, and weeks of the worst anxiety I’d ever felt made me
so sick in the head that I produced these. I’m not trying to excuse what I did, I’m just trying to tell you how I really
came to be able to say the things I did here. It’s quite clear that her response to my email was the appropriate one
for her to make now; it was inappropriate for me to share the experience with her at this point, and an affirmative
response from her would’ve simply encouraged me to write more. It wasn’t a real act of disrespect, but in that
moment, I couldn’t take that she wouldn’t give me a sorry, and that was the only thing on my mind. These are all
the emails I was expelled for sending.


                                                         RE
                                                         DA
                                                         CT
                                                         ED



                                                                  RE
                                                                  DA
                                                                  CT
     RE                                                           ED
     DA
      CT
I don’tED
        know what she ever said to them, but right after I sent the first email, RED started calling me and my
parents. I remember telling her it wasn’t ok for her to contact my parents (which  I’d asked of her, and she’d
                                                                                ACTE
agreed to when we talked in person the day of the breakup when we were still D    on good term with one another),
and her telling me to “fuck off, because she and my mom were best friends and she could say anything she




                                                                                                                DARTMOUTH001322
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 26 of 48



wanted to her.” Since our last interactions had been good, I assumed REDA must’ve misrepresented the dispute
we were having over money when she’d described it to her, and that she was acting accordingly.
                                                                     CTED

      RE
                              RE
      DA
                              DA
      CT
      RE                      CT
      ED
      DA                      ED
      CT
      ED
      RE
      DA
      CT
      RE
      ED
      DA
      CT
      ED
     RRE
     EDA                                                                                    RE
    RE
     DCT                                                                                    DA
    DA
     AED                                                                                    CT
    CT
     C                                                                                      ED
    ED
     T
     E
     D
       R
       E
       D
       A
       RE
       C
       DA
       T
       CT
       E
       ED
       D              R
                       E
                      D
                       A
                      CT
                      ED
      RE
      DA
      CTE
       D

I don’t know what RED said that motivated my dad to do that to me, but it hurt and I. Now I realize that since
REDA and I wereACTE  the only ones that really understood all things we’d bought for one another in the past 6-
months
 CTED    or the natureDof those purchases other than us, so to RE (who probably knew nothing about it) it
might’ve just been me actually making threats out of nowhere DA    to try and get money from her or something – I
don’t know. I don’t really know any of the content from the conversations
                                                                  CTE          she had with my parents after this point,
but when they responded to the empty threats I used to try and force them to come to the table on the issue by
                                                                    D
going to my parents, they didn’t just try to stop and control me, they turned against me. And it was easier for me
to believe they went that far because what RED said was so insane that it justified their behavior and refusal to
believe anything I’d said, instead of that they really just turn on me so harshly at the first sign of trouble. I’ve
                                              ACTE
learned better since I got expelled though. WhenD I tell them things now or ask them for help, I can tell they don’t
respect or care about me now that I’ve just become an item of deep incredible shame that’ll come up whenever
they have to speak to anyone they know, and will probably keep them up at night hating every part of themselves




                                                                                                                 DARTMOUTH001323
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 27 of 48



that created such a fucked up monster that harassed his ex girlfriend so severely with the emails he wrote after
they broke up that his school threw him out for it when he wasn’t even found guilty of a crime. I know they’re just
worried I’m going to kill myself now, but if they could take the bigger perspective on things, I think they’d
understand it’d probably be easier for myself that way in the end for them too.


   RED
   ACT
    ED




This was actually true. When the police officer came to my house, everyone else left and he sat with me on my
couch and I told him everything that’d happened, and the story behind the money I had threatened them about.
He was very empathetic, but said that since we didn’t have a contract or anything like that, it was within her power
to just not give it to me or explain why. He also said the REDACTED and I were not to contact each other
anymore, which I told him was my only desire and asked him to communicate to them that they were not to speak
with my family anymore, and asked to look at my phone to confirm I didn’t have any nude photos of REDA ,
which I immediately handed over. After this, I asked him if it would be illegal for me to post on social CTED
                                                                                                         media about
it or say shitty things about her to people outside of her immediate family as long as they were all true, and he
said it was as long as I was merely expressing my opinions or feeling and not threatening or slandering them, that
there was no reason I couldn’t. That’s the discussion I’m referring to in the email above.

After I sent the first email, her mom and dad started calling me and my parents saying she’d call the police or sue
us if I didn’t stop bothering her about the money. At the time, it felt like I was in a fight with the people I’d been
closest to in the world just weeks before. I felt like she’d started this all when she broke my trust and said all the
things she’d told me that Monday after she got back from Montreal with REDACTED . The email I sent in
response to her apology letter were the first words of mine I had any reason to believe she’d read. Thus, it was
the first opportunity I had to say anything mean in response to the hurtful things she’d told me on the phone to me
the week before, and I was too stupid and weak at the time to pursue the course of action that it’s depressingly
obvious would have made the best of the situation for everyone involved, and just accept her apology. Both of us
would’ve been better off in the end if I’d had enough self-control to behave rationally and repress my desire to
make her feel the way I did, no matter how much what she did might’ve made me hurt.

When I felt like they were trying to leverage the fact my parents don’t have the means to oppose them in a legal
battle to get them to control me by delivering the empty threat of a lawsuit. I was crazed enough to think RED ’s
sole intention for doing this was to effectively deliver a threat to my parents which they couldn’t know wasACTE
superficial, and would certainly do whatever was necessary to stop their son from exposing them to the riskDof,
and doing whatever he’d done that was so malicious and unsolicited that it’d brought their close friend Barbra so
say whatever she told them about their son.

After this point I did two things to get back at her. I felt like I had to bring people from their family into the conflict
and unnecessarily share truthful information that reflected poorly on them to reciprocate for how they’d turned my
family against me, and that I also still needed to hold them accountable for the money, even if I wasn’t going to
get it anymore. Beyond that, I also wanted to do something that would make it so neither of us would ever be able
to consider trying to engage in a friendship or relationship for the rest of our lives. Beyond that, I wanted to make
it so I wouldn’t have to worry she might come back to me someday and ask to try things again, and so RED and
RE wouldn’t try and continue being friend with my parents and make me suffer by keeping some memory              ACTEof her
on
DAthe periphery of my life. The two things I did to achieve these purposes were write a tweet, and message         D two
people
CT       in their family things I knew they wouldn’t want them to know.
ED tweet read something along the lines of “Lmao @ when your ex won’t pay back the $800 she owes you after
The
the breakup, even though her parents don’t work and have been living off her grandpa’s trust fund for decades.” I
deleted it less than 24-hours later. I shouldn’t have done it, and was quick to realize it then when my thoughts
were the most irrational they’ve ever been, but I felt like people at least had to know what she’d done now that
she got away with it.

The messages were to the only family members of hers I was friends with on facebook – her cousin and aunt.
They weren’t even about them specifically. RED hated her own family – mostly her father and brother – and I
                                              ACTE
                                               D




                                                                                                                   DARTMOUTH001324
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 28 of 48



told the aunt things that she’d said about them. I did the same for the cousin regarding things REDA had said
about his family. Although it did come under the scrutiny of the judicial affairs court, this is the CTED
                                                                                                     action I regret the
most, and the most unbelievably evil and fucked up thing I’ve probably done in my entire life, and certainly the
main reason RED did everything she could to hold true on her threat to “take away my scholarship.” These were
people I knew,    and hung out with and loved. But in the moment, I was fucked up enough to be able to bring them
               ACTE
into this just so D
                  I could get back at REDA and RE for having done what I saw as the same at the time.
                                    CTED          DA
These are the last actions I committed with the motivation of causing any member of the REDACT family harm
in any conceivable way. My only direct contactsCTE                                          12th when I stopped
                                                with them in the last few days before March ED
                                                 D
making contact with them entirely are the emails I’ve provided here.

Although I’d done these things under the presumption I was most certainly not going to receive any of the
compensation REDA had promised me, they gave my dad the money a week later when my dad met up with
 RED to exchange
               CTED   me and REDA ’s belongings (as I later found out from the email she provided in the police
report,
ACTE    she’d actually convinced
                              CTEDmy parents that I was just demanding payment for some totally random sum of
money
  D     and threatening  to post her nudes if she didn’t, as they also describes in their police reports). For several
weeks until the Spring term, this was the last I heard of them.




                                                                                                                DARTMOUTH001325
         Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 29 of 48




Ø THE INFORMATION I DID PROVIDE DURING THE COS HEARING.
  Weeks later after I’d arrived at school, RED started to carry out a calculated & strategic effort to make me pay
  for what I’d done to them during the Winter.
                                          ACTEAt some point she told my mom she was going to try and take my
  scholarship, and this past week when I wasD expelled, I think she succeeded so far beyond her goals I honestly
  think she’d be horrified, no matter how much I know and have been told they hate me by our mutual friends.

  Pretty much all the exchanges from this period happened between RED and the either college, police, or my
  parents, so there aren’t any emails or messages for me to show other
                                                                    ACTEthan the ones in the report, as well as the
  following email which I was arrested for sending on or about May 4th D
                                                                       and provided during the hearing:




                              RED RED
                              ACT ACT
                               ED ED

  To be absolutely clear, I'd like to reiterate that the information provided up till this point in this letter provides all
  the facts and circumstances necessary to understand the actions I committed which I was expelled for, and I
  provided none of it (aside from a brief few sentence summary) because the descriptions of the allegations which
  had been raised against me included very precisely defined time periods which Judicial Affairs had said the
  actions I’d committed during were potentially violations of the Dartmouth Community Standards of Conduct, and
  none of these events occurred in those time periods. After you’ve read what happened during the spring and see
  how much worse these actions would seem to the school

  The following information is all that is required to understand the events which occurred in the spring term, the
  time during which I was arrested and given a restraining order (which made it reasonable for my public defendant
  who the school's officials had told me was familiar with the process, and was my only impartial advisor who have
  me any assistance with the process), and which I was led to believe the school was accusing me to have been
  acts of malicious harassment or coercion. Thus, this is the information that I provided to the committee during the
  hearing.

  Weeks later when I arrived at school for the spring term, I’d assumed this was all over. I hadn’t heard from the
  REDACT ’s in weeks, and the police officers they’d asked to visit my house and evaluate the situation had told
  me ED
      that any subsequent contact the REDACT ’s or I made with each other family members against the other
  party’s will would constitute the other party
                                            EDgetting a restraining order against the agitator.
   RED must have looked up the Dartmouth term schedule online of something, because on the first day of spring
  ACTEmy parents started calling me saying that RED was calling them and saying that I’d made more death
  term,
  threats,  harassed them, and done a number of other                                                                  th
      D                                               ACTEthings that I just simply hadn’t in the time since March 12
  when I’d stopped contacting them in any way, because   D     I simply wanted  to know  I’d never have to hear from them
  again at this point so I could just slowly start to forget them and stop everything in my life form bringing me back
  to the painful memories of them. In the winter when my parents started telling me they’d been in contact with
   RED and were unconditionally taking her side & perspective in the affair over my own, I started reacting very,
  very adversely whenever they’d try to do something to control my actions on RED ’s behalf and I could identify
  ACTE
  thatD it was going on. For example, I remember at one point when my dad suggested  ACTE he should take my laptop and
  phone away to make sure I didn’t contact them again, I promised him that if he D     did, I do anything within my
  capabilities to make sure I was at the library the next morning before it opened so I could send the REDACT ’s
  something ten times more severe than anything I’d already said. Probably out of concern for their own ED      son, who
  they wouldn’t believe RED was just lying to their faces about, and probably wouldn’t admit what RED said
  was true if he had been   doing those things anyways, they kept accepting her calls and listening toACTE
                         ACTE                                                                               whatever
  narrative she provided them,
                            D      but would try to hide that they’d been speaking   with  her from me while D
  simultaneously acting upon what she told her. They were horrible at this, and it was quite obvious when they were
  acting on new information she’d given them. I’d call them out on this in conversation when they accidentally
  revealed that they knew something or had a concern which is was almost or totally inconceivable they might raise
  if they hadn’t spoken to her. They’d respond by getting defensive, admitting they’d continued to speak with her,
  and justify why they felt like they had to and couldn’t trust what I said. I’d get calls from them while I was studying,




                                                                                                                     DARTMOUTH001326
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 30 of 48



or with friends, or in class, and every time it’d just be lost in disbelief that RED could try and get me back for
these things in such a fucked up, sociopathic way weeks later when evenACTE       I’d become removed enough from the
situation to just want to be past it. I wasn’t sure if RED would ever deliver D     on the threats she’d directly and
indirectly made to me, but I thought it’d be by spreading
                                                      ACTE   some    dark rumor   about  me or something. I guess maybe
she felt that over the weeks since I’d sent those messages
                                                        D        in the end,  the same   crazy anger that built up in me
when I felt that I’d been unjustly wronged at the end of the relationship, and which eventually brought me to send
the messages in the first place probably built up in her, until she also couldn’t help but try and at least try her best
to bring some reciprocal hardship upon me.

After my parents started calling me and told me all the lies RED had told them about me over the phone, I
became livid and sent the following email (from page 23 of ACTE
                                                             the COS Hearing Packet)
                                                                D




                                                                                                                 DARTMOUTH001327
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 31 of 48




                                          REDACTED

                                                                    RED
                                                       RED          ACT
                                                       ACT           ED
                                                        ED
               REDA
               CTED




She sent the following email in response the next day:




While this seems genuine, this aunt specifically has a reputation for constantly being on facebook (commenting
on everyone’s posts, live-streaming random everyday things she did like riding her horses, and always speaking
in all caps because she thought it was funny) so I took this as RED simply continuing to. I guess there is a
chance she went offline for a while or something, but since REDACTE had threatened to make me pay for what I’d
done, I was pretty quick to jump to the assumption that she’d  suddenly
                                                             ACTE D      reappeared in my life on the first day I got
back to school to achieve her avowed vengeance, and write off  D the small improbability it was a coincidence and
she might be right, but what she did in the weeks after confirmed my suspicion.

I’d asked to speak with REDA to communicate the nature of my request for privacy, and that if her mom
contacted my parents like   this and lied to them again, the only thing I’d be able to do in order to protect myself
                         CTED
would be to go out and seek a restraining order. RED was nonresponsive to numerous requests and
explanations I’d given her not to speak with anyoneACTEin my family since the first day of the breakup when we were
still friends and spoke with one another, until the last                             th
                                                      D few days before March 13 when she was speaking with
them secretly, so I wanted to try and see if I could communicate the severity of what she was doing to REDA in
hopes that she might be able to convince RED to stop.                                                        CTED
                                      ACTE phone numbers, and she gave me a time that she was
REDA agreed to this, we unblocked each others’
                                        D
available
CTED and wanted to take the call at. Hours before that time when I was studying in the stacks, she called me,
and I ignored the call and asked why she was calling so much earlier than planned. She said she needed to do it
earlier now and told me she’d be free for the next 30 minutes or something like that. In less time than she’d told
me she had available before her next class, I walked out to the graveyard on Tuck Drive and started smoking a
cigarette and called her back. She didn’t pick up and I got pretty impatient given that I’d been very flexible and
given her full discretion in deciding when the call would take place. She then told me she had to go to class and
blocked me again. I thought she’d agreed to my request at first because it was undeniably reasonable given what
 RED had done, but then just backed out at the last second because she couldn’t bear to speak with me, even
for a matter of seconds and for this reason, and made up an excuse. I couldn’t, and still can’t actually can’t think
ACTE
of D
   any other reason she’d have done those things.

I was just totally confused at this point – angry because I did not like these people, and wanted so badly to not still
be interacting with them, but could not get them to respect or seemingly even listen to my requests for privacy. I
called the police to determine what I’d have to do in order to get a restraining order, and they said I’d have to go




                                                                                                               DARTMOUTH001328
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 32 of 48



to Grafton County District court in person in order to file one. This was a 1.5 hour drive with no public
transportation, and I wasn’t even ready to talk to people about this breakup, let alone ask a friend to drive 3 hours
and spend half their day with me in Grafton County getting a restraining order against the family of my ex-
girlfriend I’d told them I was in a perfect relationship for the 2.5 years I’d known them for, because I couldn’t deal
with her mom shit talking me to my parents, so it was very apparent I would not be able to do this while I was in
school for the term.

Thus, after REDA blocked me without taking the call or saying anything of substance after she’d agreed to have
it, I decided CTED
              to just try and get her to have it one more time, since I didn’t really have another feasible way of trying
to make them stop at this point anyways, and so I wrote again the next day:




The “alternative” I’m describing in a sort of threatening and ominous tone here is me going out to get a restraining
order against them so I’d be able to feel secure and make sure that if they were harassing me now (as it almost
certainly seemed in my mind due to the timing of when she reached out to my parents), I could at least rest easy
knowing they wouldn’t be able to continue to do so in the future.

Their response to this email was to go out and get a restraining order against me. Two police officers came to my
dorm room while I was hanging out with my roommate and his girlfriend. After they said they were there to issue
me a restraining order, I became frantic and asked them if we could go to the study room on our floor so we could
speak more privately.

Over the next few weeks RED would call the police and S&S and told them I was presenting threats that were
very obviously misconstrued     versions of things I’d said before, or just totally fictional altogether. For example, at
                             ACTE
one point a few weeks after DREDA attained the restraining order and I had continued not to contact the
REDACT family in any way,CTED     a police officer showed up at my door to “sit down and have a talk with me”/look
intoED
     the possibility that I might have nude photos of her. Because they had already requested another officer do
this a month earlier, and had also already sent me the money which I had threatened to post the photos to get
them back for refusing to give me (or just explain why they didn’t think it was appropriate for them to give to me
anymore), and not heard from me in any capacity whatsoever since March 13th when RED sent the police to my
home, aside from the brief communications we exchanged about the nature of my privacy          ACTE request on the first few
day of Spring term after RED had started calling my parents again and telling them that           D been doing
                                                                                                   I’d
otherwise, I did, and stillACTE
                            can only believe that her sole intention for seeking protection from law enforcement and
the school at this point wasDto try and get me back for what I’d done to her and REDA months before during the
winter. I asked the policewoman who came to my dorm room to talk with me about              this matter what reason she
                                                                                         CTED
had for visiting me about this issue which I’d already done everything in my power to comply with law enforcement
and demonstrate was not a threat I had virtually any intention, or even the materials necessary to act upon, and in
response, she told me that RED and RE had called earlier that day and expressed fears it might be a current
threat for some reason. After    a few more
                              ACTE         DA visits by the police and phone calls to my parents where RED cited
things I’d said between MarchD10th-13th,CT  and contorted them to make it seem like I was presenting ACTE   an active threat
to her or her daughter, despite me really having just desperately wanted to not hear from them everyDagain after
                                           ED
that time.

I can’t tell you how unsafe this made me feel in my everyday life at school. Every time I heard an S&S or Hanover
Police officer going by Hitchcock down Mass Row, someone with heavy boots and a keychain walking up the
stairwell, or the sound of a walkie-talkie, I was start panicking and worry it might be the first sign that they were
coming to get me and make me explain a situation I couldn’t bear to speak about or possibly be able to come up




                                                                                                                    DARTMOUTH001329
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 33 of 48



with a story to explain. I told a couple people at the school what was going on at the time, and they believed me
(or pretended to at least), but said the only thing I could really do would be to talk to the police and figure out how
to get a restraining order of my own. The threat that RED might call my parents or the police and lie about the
situation in a way I couldn’t defend at any moment just    to toy with me drove me mad, and after a while when it
                                                        ACTE
wouldn’t stop, I decided that as soon as my phone came    D in the mail (mine had broken and an insurance
replacement was on the way) I would call the Grafton County Police Department and see what materials I needed
to bring them if I managed to find a way over so that I could file for a restraining order. They told me that I’d need
to provide documentation that showed I had explicitly communicated to the individual that I was filing the order
against that they were not to communicate with me or my family, and that they subsequently violated that request.



It was beyond unintelligent for me to think this would make it a good idea to send the email I did, but I think I
understand what brought me to it. I was just general anxious and paranoid this entire term, and it made it
incredibly hard for me to memorize information. I attended every class aside from the two periods I missed (the
day after I’d spent the night in jail, and was not able to get back in time to attend), and tried to the absolute best of
my capabilities to get the best grades I was capable of (I thought if I got a really high GPA in my last few terms, it
might help my try and overcome my current one when I went to apply for jobs), but simply was not capable of
retaining as much testable information as I normally could no matter how much time and effort I put in (my grades
this term were largely determined by tests on names, dates, and vocab terms from different historical periods, and
in-class participation and discussion). I was also taking what I thought was a much less rigorous class schedule
than I’d typically enroll in, but despite all this I got even worse grades than usual. I can see how I was stupid
enough to think sending the email might offer me some protection, but please understand that this action that me
and the people I was able to get any information or help from this process all came to the conclusion my Judicial
Affairs hearing would be about, and that these were the events I thought that I needed to explain.

The school had been given all the information that my conviction was based off of more than a month before I
was arrested, and I had a meeting with dean Clemens after that time, but was not told I had to go through any sort
of disciplinary hearing for the school until just after the time of my arrest, with allegations very specifically alleging
that THESE ACTIONS WHICH I PERPETRATED ON OR ABOUT MAY 4TH 2017, AND DURING THE SPRING
TERM OF 2017 (WHICH IS A PERIOD WITH A VERY WELL DEFINED BEGINNING AND END – FROM MARCH
28TH THROUGH JUNE 8TH – AND DOES NOT ENCOMPASS THE PERIOD OF TIME DURING WHICH I DID
THE THINGS I WAS EXPELLED FOR) ARE THE ACTIONS WHICH EVERY ADVISOR I WAS CAPABLE OF
GETTING HELP FROM AND I WERE MADE TO BELIEVE I HAD BEEN ACCUSED OF VIOLATING
DARTMOUTH’S COMMUNITY STANDARDS FOR COMMITTING.

In other words, the school knew I had done all the things which the COS committee eventually considered when
they made their decision to expel me, but did not accuse me of misconduct in the month after they’d been given
the information. PLEASE UNDERSTAND HOW IT WAS MORE REASONABLE FOR ME TO BELIEVE THAT
THIS TRIAL WOULD BE ABOUT THE ACTIONS I’D BEEN ASKED TO ATTEND THE HEARING RIGHT AFTER
I COMMITTED, NOT THE THINGS I’D DONE A MONTH PRIOR AND ALREADY SPOKEN WITH THE SCHOOL
WITH AND NOT BEEN ASKED TO ATTEND A JUDICIAL HEARING FOR HAVING COMMITTED. THIS IS
ESPECIALLY TRUE GIVEN THE VERY SPECIFIC LANGUAGE AND PHRASING USED BY WHOEVER
WROTE THE ALLEGATIONS I WAS PROVIDED, WHICH I HONESTLY CANNOT IMAGINE ANOTHER
REASON A PERSON MIGHT’VE USED IN THEM, OTHER THAN TO IMPART THE SAME INFORMATION
ABOUT THE NATURE OF THE ALLEGATIONS THAT’D BEEN RAISED AGAINST ME WHICH I MISTOOK
THEM TO IMPLY.




                                                                                                                  DARTMOUTH001330
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 34 of 48




To this day, I have a criminal arrest on my record, will almost certainly have to take out student loans to pay for
tuition when I’m not able to graduate on time, am overcome with anxiety whenever I hear or see an S&S or police
office walking around in my building, am humiliated every time I see someone at home (a friend from our high
school class who also goes to Dartmouth, and was at home on Mercer Island for the summer, said REDA
couldn’t stop talking about how funny it was that I got arrested, and how badly she destroyed me; another
                                                                                                       CTEDfriend
of mine at Berkeley who I saw over the summer, and one of the few people I knew in high school that she didn’t,
said he heard she “got me pretty good” from another person I hardly even knew).

I guess what drove me insane in the first place was just that when I was so hurt, REDA , the only other person in
the world that I thought could really understand what we’d been and what this was  really like for me, wouldn’t
                                                                                  CTED
acknowledge that she had been worse to me in the end than she was worse to me in the end than either of us
could’ve possibly imagined she’d be after everything we shared, and then when I eventually snapped a few weeks
after we’d broken up when my pain and frustration turned into anger and I started to believe the only way I could
stop her from hurting me anymore was to force her to understand how her actions made me feel with each thing
she did to me from this point on by doing something to evoke the same emotions in her, that she could think I was
so wrong for feeling that way I deserved to lose the money she’d said she would pay me.

Imagine if you’d done something in the darkest moment of your entire life, when it felt like the four people that
cared about you most in your life started secretly colluding against you and lying about it to your face, and it made
you so desperate to find some way to show them you’d hold them accountable for breaking your trust that you did
the most unspeakable thing you’ve done in your entire life. But then afterwards they punish you for it times over,
and the one institution you’d been tricked into believing might actually care about you too much to not only do the
same, but by taking everything in your life away from you. Before high school, these kinds of situations – where
you feel betrayed by people who’d convinced you to trust them, or where the way you’d not only make the best of
the situation for yourself, but also get a more righteous justice than you could ever attain by lashing back out at
them, by simply being the bigger man and making them live the rest of their lives with the memory of how wrong
they were, and the inability to feel sure about how good of a person they really can be if they were able to do
whatever they did at some point, the insecurity I feel about myself whenever I remember what I did during the
winter – were the ones I was worst at dealing with. But I think from learning the hard way in enough situations, it
eventually became one of the strongest parts of me. My friends here always come to me for advice for what to do
in situations that’re too emotional for them to handle themselves: my best bud calls me his “social strategy
consultant.” One of the main nicknames REDA used to call my was “Spock,” because she always said I was
able to think more rationally than anyoneCTEDshe knew throughout emotional situations. I promise you this wasn’t who
I am. I feel the same depression and desire not to wake up in the morning now that I did back then, but while
every waking thought of every second of my day is focused on this, I’ve at least been able to use this anxiety and
desperate feeling of needing to make things right to give me enough energy to fight through the fog and type this
for you in hopes this all really shouldn’t have happened this way, and then when you know everything you might
come to realize that and save me. But I’m already so fearful of what the day will be like after I turn this in, and am
filled with that same constant, desperate feeling I need to do something to stop this, but without any way to act on
that urge and do something that might possible help make it right. I’ve told my friends this before, but over winter
break something I realized is that situations like these, where something so important to me in my life has gone
awry, but I’m forced to sit at home with no way to act and stop the situation honestly, are the most unbearable for
me to endure.

I know renowned sexual offender and textbook sociopath who finally did something crazy enough his own frat
house didn’t have a choice but to kick him out anymore, but he still gets to walk this campus every day, and return
to his job after he graduates in the spring, and had good enough lawyers that the COS committee wasn’t able to
get him in any trouble at all after he fucking raped a girl whose had to avoid certain parts of campus for years just
to escape the horrific memories her mind goes back through whenever she sees him. Meanwhile, despite having
been humiliated times over for what I’d done before this trial even happened, directly and indirectly threatened by
the people who’d originally raised the accusations of misconduct against me to the school, and mocked by in
conversation with everyone I knew before I came to school here to make sure they isolated and ruined as many of
the relationships I used to have as possible for what I did to them during the winter, I still deserve for the rest of
the happiest memories from life from my time here at school to be turned into the most painful and salient ones in
my mind, and to not only lose the thing that represents everything I’ve worked for in my entire life, but also have it
taken from me in such a way that’ll leave my academic record from college ruined for the rest of my life –
something the court system wouldn’t (and didn’t) spend a second of time trying to get me for in a case like this




                                                                                                              DARTMOUTH001331
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 35 of 48



where a guilty finding would necessarily require the jury suspend their presumption of innocence for the defendant
and simply imagine what they think probably happened based on whatever unverified statements they’d been
provided in advance of the hearing, and whatever the random assortment of people on the judiciary committee
interpret the answer which the defendant provides in questioning to mean. I cannot believe that my own school
was so willingly accept whatever narrative the people I’d been telling them were harassing me for months told
them. If I turned on one of my friends here, they retaliated, and I submitted evidence they’d said immoral or
incriminating things in the past, for the sole, avowed purpose of causing you pain by putting you under the
scrutiny of a court system that is notorious for dealing incredible punishments based on limited or incomplete
evidence, would the school as willingly and unconditionally believe my narrative and carry out my will the way that
they did for RED ? Am I living through the vicious, arbitrary, and anti-male college judiciary system I’d been told
about by theACTE
               media and other people, but I’d been too stupid to believe might be more than a dramatized rumor
until now?      D
There is a girl at this school who dated a friend of mine, and then stalked him for months after they broke up,
calling him every single day and repeatedly threatening to kill herself if he didn’t come back to her. Instead of
expelling her for coercion, the school just put up a restraining order between them, and understood she might’ve
been going through the hardest time of her life, and done something that didn’t reflect her true character at all.

That didn’t stop her from trying to coerce him into being with her. She telling her friends she was going to kill
herself to make him feel like the only way he could save her life was by doing something. He emailed her mom to
tell her what was happening, and she gave chilling responses that genuinely disturbed him, and made him tell me
he felt like he did understand why she might kill herself now – because even her own parents did care about her.
They only live a few hours driving form campus, and only said they’d come up in a few days when they had time
after he’d written her that he thought her daughter might kill herself that night.

Later, it turned out she had actually planted a fake contact with him months before, and was posing as her own
mother and writing the emails to try and manipulate him. He’s genuinely scarred, and feels like he won’t be able to
shake the lingering feeling that whenever he’s in a situation with someone like her that he feels like he needs to
help, that they might secretly be faking their condition to manipulate him. But the school gives her 1-year medical
leave for her violation of a restraining order, and expels me for mine? Is regret measured by nothing other than
the perception that the random people of the committee have of the defendant based on their facial expressions
and what they say during the trial? Is it not extraordinarily obvious that in any trial concerning an overly
complicated situation that a committee would have to invest far more time than the judges in a COS hearing set
aside to understand, or where the person is actually psychotic and manipulative, that taking this

If the school is so willing to allow the volition of the person submitting a complain about a student to cause them
suffering and hardship, rather than the severity of the student’s misconduct, determine how severe of a
punishment they receive? Is it really fucking imaginable that this isn’t, black-and-white, a more malicious,
persistent, and remorseless act in violation of Standard of Conduct II than what I did during those few days in
March would be considered? Why does the school keep trying so hard to help her after she’s already explicitly
refused their help and repeated her behavior post-interventions and warnings, but no matter how many times I’ve
come begging for help, in the end, I guess nobody ever did try to understand or care.

The thing that scares me the most is that no matter how hard my closest couple of friends and I try to think of
something I might be able to trick myself into believing so that I’ll be able to stop myself from taking a half gal and
a pack of Newports out to the lookout behind my house and just taking them in until my head gets warm and dizzy
enough where that I’ll be able to just stand by the edge and eventually fall off on my own, and numb enough that I
won’t have to feel the trees hit me on the way down, there are no other solutions left to escaping this life of
humiliation and trying to forget the things that used to be dearest to me, but which the memories of make so
depressed I want to curl up and die, or hit myself in the face so that the lesser physical pain will stop the torturous
thoughts in my mind. I could try, and probably fail, to jeopardize the safety of my fraternity, and the happiness of
all these people in it who I love, by doing thing the o writing something like Andrew Lohse’s book, but I don’t think
that life could be worth living either, and I couldn’t justify exposing them to the risk of losing one of the things
that’re still valuable to them in their lives so I could do something that’d give me a one-in-a-million shot at making
mine worth living again someday.

I don’t know if you’re aware of this at all, but almost every male student I’ve met at this school, and literally 100%
of the people in the two fraternities I know every member of like to recreationally use nitrous oxide to get high. I’ve
seen more 40+-year-old Alumni at a fraternity that I have a lot of old, close friends at doing them for hours over




                                                                                                               DARTMOUTH001332
       Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 36 of 48



Green Key. The kid who got one of (if not the actual) most prestigious academic award this school gives
undergraduates famously consumed over $1000 of them by himself over last Green Key. One of my friends
brought me an entire box of them as a gift yesterday to try and help me relax enough to eat or sleep. When I did
them, even at my most euphoric and delirious state, my mind was somehow able to distract me from whatever I
was doing and bring my thoughts back to this. In a state where it is supposed to be impossible to focus your mind
on something no matter how hard you try, I suddenly can’t stop thinking about the single thing which I’d do
anything in the world to just forget about for a second. It was more eye-opening than i can articulate to you, the
experience of having that same exact, overwhelming sensation of drug-laden euphoria, but without any actual
substance or real thing to hold onto in my life that gives me a real, conscious, rational reason to be happy
anymore. Even if I try to force a fake happiness upon myself, there is no way I’ll ever be able to experience that
genuine sensation of human happiness you get from accomplishing things or believing that anyone will ever give
a shit about, let alone care about who you really are no matter how much you do to become a better person. If
this decision isn’t, or shouldn’t be fixed, I don’t understand how I’ll be able to stop my fucked up head from
torturing me for the rest of my life over it, what I did to earn it, and the events and circumstances I committed
those actions in. I know nobody really seems to care, and this doesn’t serve as an excuse for any behavior, but
this truly was the darkest moment of the 21 years I’ve been alive, and the most fucked up shit I’ve done in my
time on earth.

My dad lost everything with his real estate business in 2008. We were always at least comfortable and happy
before then, and I hadn’t ever thought about it before now as I write this, but I guess when we lost everything and
the bank came to take the new house and cars he’d earned from working harder than I’ve ever witnessed anyone
do before in my entire life, and then just lost it all no matter how hard he tried. I can’t go through this life haunted
by the thought that like him, I’ll just be a shell of the person I would’ve been if this hadn’t happened. And I can’t
think of anything that could make the pain of losing everything in your life more painful than having it taken away
for a reason like this – one you’ll never be able to trick yourself you’ve got a hope of ever forgetting.

I don’t know if anyone at this school cares about providing its students with equal rights, protects, or opportunities
in any way it can’t advertise on a brochure, but I think the people at this school’s judicial affairs department would
be well served if they took the time to read this and try to understand how the system they've put in place very
clearly and systematically deals harsher outcomes to poorer students who're put through than it does to wealthy
ones, regardless of their crimes or guilt. That is to say, without reference to my own case, this system is set up in
such a way that a poor students who are not actually guilty of misconduct, but come under the scrutiny of the
Judicial Affairs system by chance, are exposed to a substantially greater risk of being wrongly punished, and must
invest far more time and effort to defend and represent themselves than wealthier students who find themselves
in the same situation, but whose parents can actually provide them any sort of assistance or pay for a lawyer to
help them with the process. Do you have any idea how impossible it is to defend yourself for a hearing in a court
with made up rules you can't look up? Or figure out what you're supposed to say, or write your own statements
because you can't pay a lawyer to help you with them. The people who work at this place like to say that the
Judicial Affairs hearing isn’t like a court trial because its rules and procedures are designed to get the outcomes
the Dartmouth Community wants to uphold, which are different form the ones our nation’s legal system are meant
to uphold. If that is true, then why does the school seem to think that it’s acceptable to allow the sole factor which
determines the quality of assistance and instruction that a student receives during, and in advance of a hearing,
be the amount of money their parents CAN PROVIDE them for these purposes.

If I’m ever going to be a student here again, it would be so good for me to just be able to stay here and do
productive things and try and heal. If there’s any way I could just be allowed to walk on campus so I can just see
people and feel mentally healthy enough to heal, and not be isolated at home with nobody to talk to, and nothing
on my mind other than how easily RED was able to take everything in my life away form me, and take away the
best memories and opportunities of   my entire life away. I can’t tell you how much this will change me for the
                                   ACTE
worse. I’d spent so much more time reflecting
                                      D          on all of this. By this point, the only thing that could become of me
from being at home with nobody to talk to or anything to help my mind escape the thoughts of everything that has
become of this now would be the memories of it all, and the damage and pain they cause me to become more
permanent.




                                                                                                                 DARTMOUTH001333
          Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 37 of 48




Ø LINE-BY-LINE RESPONSE TO THE JUDICIAL AFFAIRS
  COMMITTEE’S FINDING REPORT
EACH SECTION IN RED IS COMMENTARY ON THE SECTION OF TEXT FROM THE
JUDICIAL AFFAIRS COMMITTEE’S FINDING REPORT WHICH PRECEDE. COMMENTARY
IS PRIMARILY FOCUSED ON SECTIONS OF THE ORIGINAL REPORTS WHICH ARE IN
BOLD FONT.



COS 17F#3 - September 21, 2017 Casenote
Student: Mark I. Anderson '18
Finding: Responsible for violating Standard Il; no finding regarding violation of Standard
VI Sanction: Separation, effective immediately
The student was charged with violating Standard of Conduct VI when he reportedly "violated local, state or
federal law by not observing the conditions of a restraining order on or about May 4, 2017." He was also
charged with violating 'Standard of Conduct Il through repeated behavior or conduct targeted at an
individual."

The student denied both allegations, and his case was heard by the Committee on Standards.
          I HAVE PASTED A COPY OF BOTH OF THE ALLEGATOINS I WAS GIVEN AN OPPORTUNITY
          TO “ADMIT” OR “DENY” BEFORE THE TRIAL. PLEASE UNDERSTAND THAT WHILE THE (2ND)
          ALLEGATION WHICH THE COMMITTEE DID NOT FIND ME GUILTY OF IS DESCRIBED IN A
          WAY THAT INCLUDES ENCOMPASSES ALL THE INFORMATION FROM THE
          CORRESPONDING ALLEGATION I WAS SHOWN (MOST IMPORTANTLY, THE DATES WHICH
          I WAS TOLD THE ACTIONS I’D COMMITTED DURING WERE THE BASIS FOR THESE
          ALLEGATIONS BEING RAISED AGAINST ME).

          HOWEVER, THE FIRST ALLEGATION, WHICH THEY DID FIND ME GUILTY OF AND
          EXPELLED ME FOR, IS NOT RECREATED HERE IN THE SAME WAY THAT THE 2ND
          ALLEGATION IS. RATHER, ANOTHER ALLEGATION WHICH IS SIMILAR TO THE FIRST ONE
          I’D BEEN CHARGED WITH IN ADVANCE OF THE HEARING, BUT WHICH WAS REWRITTEN
          WITH SPECIFIC DETAILS FROM THE ORIGINAL OMITTED THAT SUBSTANTIALLY ALTERED
          THE SUBSTANCE OF THE ALLEGATION.

          SIMPLY PUT, THE ONLY WAY IT’D BE PROCEDURALLY POSSIBLE FOR THEM TO EXPELL
          ME FOR MISCONDUCT ON ACCOUNT OF THE THINGS I DID IN THE WINTER WERE FOR
          THE COMMITTEE TO EITHER (1) HOLD ANOTHER TRIAL WHERE I’D HAVE TO EXPLAIN
          THESE OTHER ACTIONS WHICH WERE VERY CLEARLY NOT WITHIN THE PARAMATERS OF
          WHAT THEY TOLD ME WAS TO BE CONSIDERED, OR (2) JUST CHANGE THE WORDING
          AROUND A LITTLE BIT ON THE ALLEGATION THEY DECIDED TO CHARGE ME WITH PART-
          WAY THROUGH THE HEARING SO IT MAKES SENSE, JUSTIFY DOING THIS BY SOME
          CITING SOME OTHER DECISION THIS CLOWN COMMITTEE CAME TO IN THE PAST WHERE
          IT APPLIED SOME METHOD OF ADJUDICATION THAT COULD LOOSELY BE INTERPRETED
          AS SIMILAR ENOUGH TO THE ONE THEY MUST’VE EMPLOYED HERE TO JUTIFY DOING IT,
          AND THEN JUST PUT HIM DOWN TO MAKE SURE NOBODY’LL BE TOO BUSY AT THE
          OFFICE NEXT WEEK DEALING WITH PAPERWORK THAT’D NEED TO BE COMPLETED TO
          FIT HIS HEARING INTO THE SCHEDULE WHICH IS BOOKED FOR WEEKS OUT.




                                                                                                   DARTMOUTH001334
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 38 of 48



         IF YOU CONFIRM THAT THIS IS REALLY HOW THIS COURT IS INTENDED TO OPERATE, I
         COULD GO OUT TOMORROW AND THREATENED EVERY STUDENT I HAVE DIRT ON FOR
         WHATEVER I WANT IN A WAY THEY WON’T BE ABLE TO PROVE, AND THEN SUBMIT A
         COMPLAINT TO THE SCHOOL ALLEGEING THEY’D DONE SOMETHING THEY HADN’T, BUT
         ALSO INCLUDE EVIDENCE PROVING THEY’D ENGAGED IN A MYRAID OF REPRIMANDABLE
         ACTIVITIES UNRELATED TO THE SUPERFICIAL ACCUSATION THEY’D MADE IN THEIR
         COMPLAINT, THAT THE SCHOOL WOULD SO READILY CARRY OUT MY WISHES BY
         GETTING THEM ON THOSE THINGS IN THIS VERY, EXACT, SAME MANNER – WITHOUT
         LETTING THEM KNOW THEY WERE BEING CHARGED WITH ALL THE POTENTIAL THINGS
         THE EVIDENCE COULD POTENTIALLY SUGGEST THEY’D DONE, RATHER THAN THE
         ACTIONS THAT WERE DESCRIBED IN THE VERY, VERY SPECIFICALLY WORDED
         ALLEGATIONS WHICH I WAS PROVIDED, AND GIVEN A CHANCE TO RESPOND TO, AND
         PREPARE AND PARTICIPATE IN A HEARING ABOUT.



 This student's former girlfriend, a student at REDACTED , obtained a restraining order in late March,
2017 following her report to REDACTED Police about the Dartmouth student's behavior following the
breakup of their relationship earlier in the year. At about the same time, Dartmouth Security received a
call from the woman's mother detailing the family's concerns about the Dartmouth student's behavior
and asking for assistance.
         DO YOU NOT SEE HOW, GIVEN THAT I DID NOT CONTACT ANYONE IN THEIR FAMILY IN
         ANY WAY AFTER MARCH 13TH, ASIDE TO REITERATE MY REQUEST FOR PRIVACY WHEN
         THEY STARTED CALLING MY PARENTS AND LYING TO THEM AGAIN ON THE FIRST DAY
         OF SPRING TERM, SHOULD MAKE IT PRETTY UNAMBIGUIOUS TO SOMEONE WHO’S
         TOTALLY UNFAMILIAR WITH THE PEOPLE INVOLVED IN THE SITUATION, THAT REDAC
         MADE THESE CALLS TO THE SCHOOL TO MAKE DUE ON HER THREATS TO GET ME TEDBACK
         FOR WHAT I’D DONE BEFORE, NOT BECAUSE I’D DONE ANYTHING TO MAKE THEM FEEL
         UNSAFE.

Shortly thereafter, Dartmouth Security and Hanover Police met with the charged student to deliver a
restraining order issued by RE police. In early May, Dartmouth Security and Hanover Police were informed
that this student had violatedDA
                               the terms of the restraining order by sending the woman an email. The student
was arrested by Hanover Police.
                             CTE
                          D the Dartmouth student had "said that the only thing he wanted to do more than
The RE student reported that
end his
    DAown life was to end my life or that of my mother's."
    CTE
     D Again, this is what I wrote them minutes after my dad had beat the shit out of me in our parking lot
         until I started screaming “SOMEONE HELP ME, MY DAD IS ABUSING ME” as loudly as I could
         until he sort of woke up and stopped or something. I limped into the forest crying, typed this, and
         tried to kill myself for the first time in my life. I didn’t ever really believe what’d happened might be
         irreparable, or that I might not feel please in my life again with the mere passage of time, so I never
         actually contemplated doing something to end my own life until that point, but when the pain was
         severe enough in that moment, without even thinking about it I just started running as fast as I
         could at the ledge, and stopping as late as I could, hoping I’d accidentally go too far and slip down
         onto the concrete highway below. The sensation that made my body move was the same one that
         makes you want to hit your leg or slap your face when your emotions become too much to bear, but
         instead of putting my body into auto-pilot and making me do those things, I just started running
         back and forth like this instead. After some time, I remember waking-up as I looked over the cliff to
         run at it one more time, and realizing I’d just tried to take my own life in that moment where I was
         totally unable to control my thoughts or body. I’m not saying this justifies telling whoever it’s most
         psychologically comfortable for you to blame for the entire situation that you wish you could end
         you own life as well as their own, I’m just trying to communicate to you that this was really the
         darkest, most painful moment of my entire life before now, and the messages you’re seeing are the
         most fucked-up thing I have, and will ever say to anyone in my entire life. This isn’t a reflection of




                                                                                                                     DARTMOUTH001335
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 39 of 48



         who I am on a daily basis. This isn’t even a reflection of how I’d possibly behave in any other
         breakup situation, no matter wronged I felt in the end.

         Furthermore, for them to have initially brought this to light by presenting my emails to the police and
         school to convince them I posed a threat when this was clearly not the case, and then for me to
         explain that to the COS committee, only for them to unconditionally believe the words of the two
         individuals who you could plainly see were providing intentionally misleading descriptions of my
         behavior by checking all of the statements provided on page 10 of the COS hearing packet to the
         emails they’re based on to see that, although upon a loose examination they seem to support her
         allegations, if you look closely enough, it is clear that minor details and facts have been altered in
         such a way that cause them to support the narrative I was posing an active threat that needed to be
         stopped for the sake of their safety, rather than that I’d threatened them for money that they’d
         already given me a month prior.

 She provided a series of emails from the charged student, replete with obscenities and slurs, sent after she had
told him to stop contacting her.

         Please understand how the only unsolicited contact I made with the REDACT ’s was after I’d said
         I didn’t want to meet up with REDA anyone, but she still hadn’t given me   EDan explanation for why
         she didn’t it’d be immoral for me to not compensate me for those things anymore, and so I
                                        CTED
         eventually delivered threats I had no intention of ever acting on to try and do something to make
         her feel like she had to.

         After this point, I only reached out to REDA and RED at the start of the Spring term when RE
         started calling my mom and dad again,    when REDA
                                                 CTED     ACTE  unblocked me phone number and started      DA
         communicating with me to arrange for a phoneCTED
                                                        call shortly
                                                              D      after, and then finally, when I sent CTE
                                                                                                          the
         email to them that amounted in my arrest.
                                                                                                             D

         This wasn’t a long or repeated pattern of harassment on my behalf. I only contacted them again in
         the spring after my parents starts calling me for hours crying, and begging me to tormenting with
         the people I’d only been desperately trying to forget, for the purpose of trying to get them to
         promise me they’d stop, and while they’d explicitly accepted, encouraged, and reciprocated to the
         communication.

The Dartmouth student wrote he would do "whatever I can to hurt you as least a fraction as much as you hurt me."
He wrote things like, "l hope life brings you nothing but pain and suffering," and "This is only going to be
worse if you try and have your mom deal with it. Kill yourself you spineless fuck." He insisted on
repayment for expenditures during their relationship and stated that "if you take your time I'll make sure
you regret it."

         I have so few words to describe the way it feels to know that months of me going to the school and
         saying I’d been trying to get these people out of my lives, and that they were harassing me and
         seemed to be providing misleading narratives to the police to convince them they ought to come
         meet with and monitor me, in order to hold true on threats to get me back for things I’d done to
         them in a personal feud that ensued after we broke up during the winter term, that they would could
         just take a segment from the report I’d told them was fabricated, and paste it in this report which
         details what they decided was so unquestionably true they’d expel me for them. I don’t understand
         how they could justify copy and pasting this as an explanation if they’d actually considered what I
         said. Although Dean Hudak did warn me to think about what I might do if I did ended up getting
         suspended the day before the Judicial Affairs hearing, she said it was because it was always
         important to “hope for the best, but prepare for the worst.” I internalized that I might get a
         suspension as a result of this trial at that point (I’d honestly been trying to deny anything else might
         come of this relationship so I wouldn’t be so stressed out by the thought of this looming trial that it’d
         be impossible for me to perform in my classes, or produce high-quality application material for the
         fall recruiting cycle. I thought the potential punishments in consideration were so severe because of




                                                                                                                     DARTMOUTH001336
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 40 of 48



         how egregious of a violation of the community standards of conduct my actions could potentially be
         based on the crimes I was arrested for committing. It was being alleged that I’d harassed my ex-
         girlfriend in defiance of a restraining order over a duration of months, and arrested for this reason,
         so it made sense that the worst punishments I could receive for those actions would be incredibly
         severe. I did not think it was imaginable the school would use materials which it previously had for
         a month and not asked me to attend a hearing on behalf of, but then were brought to light later in a
         trial where a different set of actions I’d performed, and in which the allegations against were
         worded in a specific way that could ONLY be interpreted to mean that my actions which they’d
         known about for months without asking me to undergo a judicial hearing for, that I’d constantly told
         all the school representatives and police officials I’ve had to talk with about this over the last 7
         months since I sent the email and RED started holding true on her promise to make me pay.
                                            ACTE
         Can you please try and understand how D when I received multiple police reports saying the
         REDACT ’s needed protection from me because I was threatening them for money they’d actually
         already
             ED given me, it became very impossible for me to believe they might actually be scared and
         doing this out of self-defense, and not making true on the promise to make me suffer.

         If you also think I’m just some psychopath whose coming up with lies to get out of trouble after he
         got caught harassing and coercing his ex-girlfriend despite her begging me to stop contacting her
         the way the committee did, please, please just go back and look at both of the explanations each of
         us provided as to what happened, and compare each of them to the emails (which are a record of
         nearly every exchange we have February 22nd when we broke up) and just look one more time and
         make sure you really think what I’ve said here might not be true.

He called her a "fucking pathetic disgraceful piece of shit." He threatened to post on social media things that would
be "just too fucked up and hurtful for you to believe..." He insisted the woman comply with his demands "because
the alternative is worse for everyone." He called her a "heartless cunt" and threatened to "post your nudes on reddit
every day until they finally reach the front page." The charged student also sent distressing messages to the
woman's family members (mother, brother, cousin, aunt). He wrote to his former girlfriend's mother, stating that if
she contacted his mother he would "do something equally immature to make you regret it." He also wrote to her
mother that "It's clear to me why some many people in your family kill themselves now.

The charged student did not provide a written statement or any other materials in advance of the hearing.

         Once more, these are all things my advisors and I did not believe I was being accused of
         misconduct for committing, solely because the information which the school had provided very
         specifically said so. Consequentially, I dedicated seconds of my opening statement at the hearing
         to summarizing all of the information included in the first portion of this letter, which is at least
         necessary to truly understand them in full, and which I should’ve been given a chance to show
         before this was done to me, so that I could at least know my life is over now for certain instead of
         potentially waiting here, more depressed and unable to simply stop feeling this psychological and
         physiological pain throughout me ever second I’m awake.

         My public defendant, George Ostler, who helped me with the court case I had regarding things
         that’d occurred during the Spring term, told me not to worry about this Judicial Affairs hearing
         based on the results of my court trial and the information I’d provided him, so I was going about my
         normal life up until this hearing – attending classes and applying for jobs I was going to work next
         fall. In advance of the trial, the thing he told me I had to worry about in all this was that if RED
         and REDA hated me enough to come up to the trial and actually try and have me convicted         ACTEof a
                 for sending them the email I wrote on May 4th, they might well be able to achieve this.D I was
         crimeCTED
         juggling this with a very complicated financial aid problem as well, and managed to oversee the
         deadline that I had to submit materials I wanted the committee to see by. As soon as I realized my
         mistake, I asked if I could submit what I’d written so far, but they said I could not, and would just
         have to provide any information I wanted them to know in my opening statement. This is why I did
         not submit a statement in advance of my hearing.




                                                                                                                    DARTMOUTH001337
         Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 41 of 48



         Additionally, since the time of the hearing, it has taken me every waking hour of over 10 days for
         me to write this entire statement. Since two days after I had the state court hearing regarding
         incidents from the spring, I was gone at work from 6:30 am – 7:00 pm every workday over the
         summer, until I came back to school two days before the fall term began, at which point I became
         equally busy with school, extracurriculars, and fall recruiting. If everyone you’d been able to get
         help from with this process told you it was alleged my activity in the spring was a community
         standard violation, and that didn’t require the vast majority of this letter, do you think there’s any
         chance you also wouldn’t have also write out all these things which you’d been told were
         unnecessary?


At the hearing, he said that his former girlfriend had created a "misleading narrative" that was presented "in
retaliation" following a bad break-up, and that his messages should be construed as a justified response to
her harassment of him and his family.

He said that the messages from him in the packet were out of chronological order and without context. He
acknowledged that some actions on his part could be interpreted as malicious, but he stated his view that
they were "protected by free speech."

         Again, I was trying to ensure them I’d done nothing in violation of the law, which’d be in violation of
         Standard IV, so I told them the things I did were really fucked up to help them make sense of the
         whole story, but also wanted to reassure them they were not illegal. They got law enforcement
         involved as quickly as possible after I sent the first threatening email, and when the police came to
         my apartment, they said what I’d written alone wasn’t enough for them to be able to even force me
         to talk with them against their will, but I was very compliant with them nonetheless after that (letting
         them look through my phone and just explaining the situation) and by the end they came to agree

         There are two sets of events in this whole affair: those which occurred during the winter term, and
         those which transpired in the spring. In the winter, I was the one trying to hurt them; but in the
         spring, I was the victim in the affair, and RE tortured and made to pay more dearly for my
         transgressions than I could’ve ever imaginedDA is possible, just like she said she would.
                                                    CTE
         This statement by the committee really illustrates what I think went wrong, and what I urge you to
                                                       D
         understand did detriment my ability to prepare for, and even participate in the Judicial Affairs
         hearing, and that there is virtually no way anyone could argue that there isn’t enough of a chance
         that it did to justify taking everything I have in my entire life away from me without at least putting
         aside the few resources necessary to at least make sure they were right. The things I wrote in
         those emails I sent during the Winter are the worst things that I’ve ever expressed in my entire life,
         and the most evil and disturbing that have ever passed through my mind. I’d been led to believe
         that I wasn’t being tried for misconduct during the winter term, but wanted to give a little
         background on the letter in the packet, and so unnecessarily (or so I thought) described in a few
         short sentences to them to help them make sense of what motivated RED to do the things she
         did later on in the Spring.                                                ACTE
                                                                                     D
The charged student brought to the hearing a copy of the text he sent, in violation of the restraining order, telling the
woman to have no contact with him. He also provided a letter he had received from his lawyer about the status of
his case in N.H.
The charged student insisted that it was not true that he threatened to kill his former girlfriend or her mother,
as the RED student reported in her complaint, although he acknowledged he might have written something
to the effect that he wished she were dead.
       ACT
       ED
         Because the allegations I was presented with so specifically stated that it was the actions I’d
         perpetrated in the spring term, which I was arrested and made to go through an actual court trial for.
         I’m sure you can imagine that I didn’t feel the desire to go through all the emails I provided in the first
         section of this email to try and remember exactly what happened when I’d been given very specific
         information which stated these actions were not the ones I’d come under the scrutiny of the Judicial
         Affairs court for committing.




                                                                                                                       DARTMOUTH001338
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 42 of 48



 He said the committee should view his communications to the woman as justified responses to the hurtful dynamics
of their relationship. He also acknowledged, in his closing statement, that some of his behavior was "super fucked
up" and that he deeply regretted some of the messages he sent. He denied, however, that any of the threats were
real, and he argued that some of the apparently threatening statements were being misconstrued.

During deliberations, committee members observed that although the student eventually expressed some
regret, they did not find his explanations or justifications for his behavior to be reasonable. They viewed the
written threats as credible, and they noted that the woman had reason to feel threatened and afraid, especially
after she had been clear in her request for no further contact from him.

         Once again, the only period of time I made malicious, unsolicited contact with the REDACT family
         was between March 10th and 13th of 2017, and since that time, the only direct or indirect
                                                                                                EDcontact
         I’ve had with anyone they’d consider family or friends were the two contacts I had with RED and
         REDA where I asked them to just stop torturing me and let this finally pass. They’d handed
                                                                                                 ACTEme
         the
         CTEDmoney without explanation shortly after we stopped contacting each other, in March, so D there
         was nothing left on the table they had any reason to worry I might try and get them back for at all,
         and so the only way they could convince the school and authorities that I was still posing an active
         threat that they needed protection from was to take those threats and make it seem like they were
         representative of how I was acting a month later when the opposite was true

They noted that he continued to harass her and that his explicit and implied threats, which seemed real and
frightening, escalated. Committee members noted that his behavior violated Standard Il in "multiple ways." One
committee member described the behavior as "a textbook example of coercion."

         I don’t know what else I can do to affirm the negative assertion that I did not do this for more than
         two days in the spring, and willingly ceased the day after I was confronted by a police officer about
         it, and at a time I thought, and had accepted that I was simply not going to receive the money I had
         threatened them for. If you simply do not believe what I’m saying is true and my punishment is for
         that, if there is absolutely any evidence I could provide you, or anything I could do at all to affirm
         that what I’m saying is true, but which I haven’t thought of, or had the time to include as I’ve written
         this letter, PLEASE, PLEASE, PLEASE TAKE THE TIME TO ASK ME ABOUT IT, OR REQUEST I
         PROVIDE IT FOR YOU BEFORE YOU MAKE THE FINAL JUDGEMENT ON THIS DECISION. I
         know you’re probably tired or reading every iteration of this I’ve written in this letter, and that it
         wasn’t necessary for me to even tell you in the first place given the ruling, but this is everything I
         have in life that they decided I deserved to be taken away, so please make sure it was a justified
         one.

The Committee found the student responsible for violating Standard ll. The reached no finding concerning the
violation of Standard VI in the absence of a court finding.

In reaching its decision to separate the student, Committee members acknowledged that he appeared to be
experiencing a great deal of distress, but they were especially concerned about his apparent inability to take
responsibility for his actions and his lack of awareness of the significance of his actions and their impact on others.
They concluded that the student's well documented and repeated behavior was a clear and egregious
violation of Standard Il and incompatible with his continued status as a Dartmouth student.



         Because of the procedural error that occurred in this case, I truly believe they did not have all the
         information necessary to make this judgement about me with certainty. I hope this letter was coherent
         enough to convey it all to you so that you may now after reading it. If you really just read and tried to
         understand this, than you’ve done all that I’m asking , and could possibly deserve from you here.



Daniel M. Nelson, Director
Dartmouth Outdoor Programs




                                                                                                                     DARTMOUTH001339
        Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 43 of 48




        Ø Photo Copy of my opening statement from the
          COS hearing
As you can see in the last note I made to myself at the top of the packet based on my meeting with my advisor Anne
Hudak the day before was to focus on explaining the actions that happened “***During that term**” and as little
else as I had to while still giving the committee enough information to make sense of the very specific set of
actions they’d alleged were misconduct. This is the only person in the entire world the school gave me
access to for help with understanding the JA hearing process.




                     REDAC
                      TED



     REDACTED




                                                                                                          DARTMOUTH001340
Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 44 of 48




                                     REDAC
                                      TED




               REDAC
                TED




                REDA
                CTED




                                                                DARTMOUTH001341
Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 45 of 48




         REDACT            REDACTE
           ED                 D




                                                                DARTMOUTH001342
Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 46 of 48




                                                                DARTMOUTH001343
Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 47 of 48




                                                                DARTMOUTH001344
Case 1:19-cv-00109-SM Document 48-19 Filed 05/18/20 Page 48 of 48




                                                                DARTMOUTH001345
